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                   EXHIBIT M
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                                      IN THE UNITED STATES DISTRICT COURT
                                       FOR THE SOUTHERN DISTRICT OF OHIO
                                                WESTERN DIVISION


             THOMAS SCHELL and CHRISTOPHER
             RILEY, on behalf of themselves and all
             others similarly situated,

                                       Plaintiffs,           Case No. 1:21-cv-00103-MRB

                              v.

             THE KROGER COMPANY d/b/a
             KROGER,

                                       Defendant.


                                          DECLARATION OF RASHAD MYERS

                     I, Rashad Myers, declare, upon personal knowledge and under penalty of perjury, pursuant

            to 28 U.S.C. § 1746, that the following is true and correct:

            Employment History

                     1.      I have consented to join this lawsuit. Between approximately March 2016 and

            February 2019 I was employed by Defendants as an Assistant Store Manager (“ASM”) (Human

            Resources) and ASM (Operations).

                     2.      When I was hired as an ASM I was required to complete Kroger’s mandatory

            training for new ASMs, called “Leadership Essentials.” (Attached as Exhibit A is a copy of an

            offer letter that is substantially the same as the one I received when I was hired by Defendants.) I

            believe the training was also referred to as “MD-1.”           I recall the initial training lasted

            approximately 12 weeks and consisted largely of classroom training. Several other ASMs were in

            training at the same as me. As part of the training, Kroger provided me and the other ASMs with

            materials which covered the role of the ASM position, including with respect to operations,



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            merchandising and human resources, as well as Defendants’ policies and procedures. The

            materials were the same regardless of the location and format of the store where me and the other

            ASMs were ultimately assigned to work. Attached as Exhibit B are generic training materials

            Kroger provides to its ASMs. My training was largely based on the topics and categories contained

            in these materials.

                     3.      As an ASM I worked for Kroger at three stores located in Louisville, Kentucky,

            as part of Kroger’s Louisville division. At the Kroger stores where I worked there was at least one

            other ASM assigned to work in the store.

                     4.      Throughout my employment at Kroger – and regardless of the location of the store

            where I worked – the hierarchy and departments in the store, as well as the products sold to

            customers, did not vary significantly. In addition, the company’s policies and procedures were the

            same at each store.

            Unpaid Overtime/Hours

                     5.      As an ASM I was scheduled to worked approximately 50 hours a week, comprising

            five 10-hour shifts with 30-60 minutes for lunch each day. However, because the store was busy

            and I had to complete my assigned tasks, I rarely took an uninterrupted lunch break. I often ate on

            the go and continued to work.

                     6.      Throughout the course of my employment as an ASM at Kroger I worked more

            hours than I was scheduled. On average, I worked between 55-60 hours per week. There were

            some weeks where I worked more.

                     7.      As an ASM I had to work overtime because Kroger set strict labor goals for my

            stores and overtime was rarely approved for the hourly employees. I had to work these hours in

            order to complete my tasks, help customers, and satisfy Defendants’ business needs.




                                                             2
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                     8.      In addition, because I was salaried as an ASM (and did not get paid overtime for

            working over 40 hours), I was expected to work extra hours and perform the duties of the hourly

            employees so that we could meet the store’s labor budget goals. I did not set the labor budgets

            and had no control over the labor allocated for the store.

                     9.      Unlike the hourly employees, as an ASM I was not required to record the hours I

            work each week. This was the same policy at each of the stores in which I worked.

            Common Pay System

                     10.     Based on my experience and discussions with other managers and employees at

            Kroger, I understood that all ASMs were paid on a similar basis to me, i.e., salaried with no

            overtime pay. In addition, we were also eligible to receive annual bonuses (depending on how the

            store performed), as well as other benefits like health insurance, vacation days, and a 401(k).

                     11.     As an ASM I was classified by Kroger as “exempt” and received a salary that did

            not change based on the number of hours I worked each week. As an ASM I did not receive any

            overtime (or other) compensation for working more than 40 hours in a workweek.

            My Job Duties

                     12.     I recall that Kroger has a job description for the ASM. To my knowledge, the job

            description for ASMs is the same regardless of the store location or size, the Store Manager under

            whom an ASM works, or the experience or length of tenure of an ASM. Attached as Exhibit C is

            a copy of several job postings for the Assistant Store Leader (formerly the ASM) position. The

            job postings are substantially similar to the job description for the ASM position.

                     13.     As an ASM my primary duties included serving customers, ringing customers up

            on the cash register, stocking shelves, unloading trucks, moving merchandise, counting inventory,

            and cleaning the store.       These tasks are what I spent the majority of my day performing




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            (approximately 80-90% of my time) and were the most important part of my job. As an ASM I

            considered myself to be nothing more than a grocery clerk.

                     14.     I recall that Kroger closely controlled my job duties and how I performed them.

            Kroger had extensive policies, procedures, and work rules for how ASMs (and other employees)

            must complete their duties and how stores must operate. As an ASM I was required to follow

            Defendants’ policies and procedures, including those contained in the employee handbook.

                     15.     The primary duties of the ASM position does not involve management of other

            employees, nor hiring, firing, disciplining, promoting, or setting their rates of pay. While I was

            occasionally involved in interviewing candidates, my Store Manager was responsible for making

            personnel decisions including, for example, decisions to hire, fire, promote, or set rates of pay for

            employees and, even then, they often had to consult with their supervisors about these matters.

            My Store Manager and their supervisors always had the final say over personnel matters.

            Notwithstanding this, my job performance was evaluated using a standard form for individuals

            holding the ASM title. Attached as Exhibit D is a copy of a performance evaluation for an ASM.

            When I was employed as an ASM my performance was evaluated using the same, or equivalent,

            form.

                     16.     My primary duties as an ASM also did not involve setting store policies or goals. I

            believe Kroger’s corporate office established these and that they were uniform and applied the

            same at each store where I worked.

            Other ASMs Like Me

                     17.     Based on my experience at Kroger and conversations with other managers, ASMs

            work more than 40 hours per week, perform similar duties, and are required to comply with the

            same policies and procedures.




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                     18.     I am aware that other ASMs have joined this lawsuit and have made similar

            complaints to me for unpaid overtime.

                     19.     I expect that other ASMs would join the case if they knew about the lawsuit

            because, based on my experience as an ASM at Kroger, one of the issues that frustrated us most

            was having to work more than 40 hours in a week but not receiving overtime compensation.

                     Executed on October 8, 2021 in Jefferson, Indiana.



                                                                 ________________________________
                                                                 Rashad Myers




                                                             5
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                                        EXHIBIT A
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           10/14/2020

           Dear Savannah Paras,

           Congratulations on your new opportunity with Kroger Stores! We are pleased to offer
           you the position of Leadership Essentials Management Trainee. This Full-Time position
           is in the 011 - Atlanta Division. You will be reporting to LATASHA RENEE WILLIAMS.

           Your start date is expected to be 10/26/2020. Your pay during training will be $18.88 per
           hour in this position. In addition, you will also receive 10 hours of overtime weekly at the
           pay rate of time and a half. Upon graduation, your new salary will be $54,000.

           On the first of the month following your official hire date, you will be eligible for our
           comprehensive health care plans along with life and income protection plans. You will
           be eligible to contribute to the applicable Kroger 401(k) plan on the first day of the
           month coincident with or following 30 days of service and attainment of age 21. You will
           also be eligible for three weeks weeks of vacation per year, with the amount pro-rated
           based on your start date in accord with applicable company policies. Other benefits and
           eligibility requirements will be reviewed with you after your employment date.

           Per our efforts to balance associate career opportunities with work team stability, our
           expectation is that, if you perform satisfactorily, you would remain in your new role for a
           minimum of 2 years before pursuing another opportunity in The Kroger Family of
           Companies. In the event you believe there are extenuating circumstances or there
           should be an exception to this timing, please partner with your HR Leader or District HR
           Manager.

           Your acceptance of this new role is subject to (among other things) your electronically
           signing this letter by 10/17/2020. To accept and sign this offer, please complete the
           following steps:

              1. Go to our Career Center Site by clicking https://jobs.kroger.com
              2. Click on the “Application Status” button in the upper right corner of the window and
                 enter your login information.
              3. Click on the "Jobs Applied" tab and locate Leadership Essentials Management
                 Trainee District 1 ,will have “action required” in box.
              4. Click on “Update”
              5. Confirm your offer details; enter any required information, make edits to your
                 contact information if necessary, and complete the "Job Offer Response" section
                 to notify us of your decision.
              6. Scroll down and click the “Update” button to save your changes.



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           Electronically signing confirms the details of our offer, and the foregoing terms and
           conditions of employment but does not constitute any contract of employment (express
           or implied), as your employment will be at-will. Additionally, this offer is contingent upon
           satisfactory results of a background check and a drug screen. The offer of employment
           as well as any future employment with Kroger Stores is contingent upon your being
           legally authorized to work in this country and providing appropriate proof of the same.

           Please feel free to contact me if you have any questions or need additional information.
           Savannah, we appreciate you considering Kroger Stores. We believe you will make a
           big difference in our success and the achievement of our vision. We look forward to
           working with you!

           Sincerely,

           ALEISHA M PICK
           Kroger Stores




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                                        EXHIBIT B
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            Store Leadership
            Development Program
            WELCOME PACKET & TOOLKIT
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      Welcome to The Kroger Family of
      Companies Store Leadership
      Development Program!
      Congratulations on being chosen to enter the Store Leadership Development Program!
      As a new leader with The Kroger Family of Companies, I expect you to continue to learn
      and grow, and to take our Associates and our organization to new heights. The ongoing
      development of all Associates and leaders is very important to us. The guidance and
      support you receive as you go through training will have a lasting impact on you. Learn
      from your peers, mentors, and Associates — everyone around you can help you grow.

      Even after your first assignment as an assistant store leader, I encourage you to continue
      to be mindful to live Our Purpose every day according to Our Values and bring to life
      our commitment of Every Customer, Every Time!: Full, Fresh, & Friendly. You’ll do this
      by demonstrating our Leadership Model, engaging in your real work, and providing
      Uplifting experiences for our Customers and Associates.

      It is also important that you reflect upon your strengths and areas of opportunity. After
      all, you’re in charge of your professional and personal development. By investing in
      ourselves and those around us, we can make a lasting impression and fulfill our purpose
      to Feed the Human Spirit.

      Once again, congratulations! I look forward to seeing all that you will accomplish as you
      begin this journey.

      Kindest Regards,




      Jessica Kyle
      Leadership Development Program Manager
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          First Touch

          Detailed Store Walk Documents:
               •   Grocery - Dairy - Frozen
               •   Drug/GM
               •   Deli
               •   Produce/Floral
               •   Bakery
               •   Meat + Seafood
               •   Front-End
               •   Pickup
               •   Fuel
               •   Pharmacy
               •   The Little Clinic
          Hourly Conditioning

          Hourly Quick Walk

          Fresh at 5

          Getting a Good Close

          8 Behaviors to In-Stock

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                                                                   Our
                                                                   Leadership
                                                                   Model
                                                                   The most powerful leadership tool you have is
                                                                   your own example. But our Leadership Model is
                                                                   pretty powerful, too. With eight areas to focus
                                                                   on that align with our passion for people and
                                                                   our passion for results, following the Leadership
                                                                   Model will help you to live Our Purpose, stay
                                                                   true to our values and deliver on Our Promise.




    Coaches and Develops Others                                          Puts the Customer First
    Develops and cares about associates, builds                          Anticipates customer needs, champions for the
    effective teams, helps people be their best, values                  customer, acts with customers in mind, exceeds
    and manages diversity, provides candid and                           customers’ expectations, gains customers’ trust
    constructive feedback.                                               and respect.

    Leads Through Positive Influence                                     Provides Clear and Strategic Direction
    Demonstrates strong character, builds partnerships,                  Plans and organizes well, sets a clear and simple
    models a conscious balance between work and                          course of action, stays focused on the most
    personal life, takes personal responsibility for own                 important priorities, has the ability to visualize
    development, role models leadership qualities such                   and plan for the future, understands the industry
    as: motivation, inspiration, passion and trust.                      and marketplace.

    Achieves Results Through Teamwork                                    Executes with Excellence
    Is open to diverse ideas, works inclusively                          Is action oriented, drives for results, sets clear
    and collaboratively, holds self and others                           expectations and milestones, reviews progress,
    accountable, involves others to accomplish                           acts decisively, solves problems, can be counted
    individual and team goals.                                           on to consistently meet or exceed goals.

    Communicates Effectively and Candidly                                Leads Change and Innovation
    Communicates clearly and directly, is                                Challenges the status quo, embraces technology,
    approachable, relates well to others, engages                        puts forward creative ideas, champions and
    people and helps them understand change,                             implements process improvements, gathers the
    provides and seeks feedback, articulates clearly,                    ideas of others, demonstrates good judgment
    actively listens.                                                    about which ideas will work.




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      Store Leadership
      Development Program
      CONTACT LIST

      Please use the space below to fill in the contacts for your division. These leaders will be valuable resources
      for you throughout your journey in the Store Leadership Development Program.

      ASSISTANT HUMAN RESOURCES LEADER                                  DISTRICT HUMAN RESOURCES LEADER




      DISTRICT MANAGER                                                  DISTRICT OPERATIONS SPECIALIST




      DISTRICT DELI/BAKERY SPECIALIST                                   DISTRICT PRODUCE/FLORAL SPECIALIST




      DISTRICT MEAT/SEAFOOD SPECIALIST                                  DISTRICT DRUG/GM SPECIALIST




      DISTRICT CENTER STORE SPECIALIST                                  STORE LEADER




      TECHNICAL SUPPORT




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      Store Leadership
      Development Program
      SCHEDULE BY WEEK

      The Role-Based weeks of the Store Leadership Development Program are designed to deliver a fast-track
      experience through the supermarket environment, filled with department experiences, leadership
      curriculum, and content delivered directly from General Office (GO) subject matter experts in a virtual
      classroom setting. The trainee will be in the store for the full extent of the training program and can
      immediately apply the learning while staying closest to the customer experience.
      Each week is structured at 5 days. Specific days each week will be coordinated through GO and will be led
      virtually, and the remaining days of the week are scheduled according to the weekly guides and the store
      management schedule.
      This document shares a high-level overview as well as summary by week of the Store Leadership
      Development Program from the enterprise as well as Division-specific additions.


       PROGRAM                   WEEK                      ACTIVITY
        Preboard                  Up to three weeks        New-to-company trainees use this time to acclimate to the grocery
                                  experience prior         industry and the organization’s culture
                                  to Onboard

        Onboard                   Weeks 1 -3               Refer to Onboard documents for guidance around onboard specific
                                                           activities and scheduling

        Role-Based Training       Week 4                   Enterprise and Division launch, Front-end, HR Policies & Procedures,
                                                           Safety, Cohort Networking Session

        Role-Based Training       Week 5                   Effective Store Walk, Center Store, CAO, Asset Protection, HR
                                                           Systems, Talent/Performance

        Role-Based Training       Week 6                   Effective Store Walk; Center Store; Labor/ELMS/Expense;
                                                           P&L; eCommerce/Pickup; Training, Onboarding, & Associate
                                                           Development; Performance Discussion

        Role-Based Training       Week 7                   Effective Store Walk, Fuel, Human Resources, Pharmacy, Leadership
                                                           Development, Fresh Department Asset Protection & Waste, Business
                                                           Impact Discussion

        Role-Based Training       Week 8                   Effective Store Walk, Total Rewards, Talent Acquisition, CAO, Pickup
                                                           Department

        Role-Based Training       Week 9                   Effective Store Walk, Food Safety, Financials, Performance
                                                           Discussion

        Role-Based Training       Week 10                  Effective Store Walk, Merchandising, Fresh Departments

        Role-Based Training       Week 11                  Effective Store Walk, Associate Relations, Fresh Departments,
                                                           Cohort Activity

        Role-Based Training       Week 12                  Effective Store Walk, Elevate, Leadership Development,
                                                           Performance Discussion

        Role-Based Training       Week 13                  Final Validations


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      Onboard Weeks 1-3

      The Onboard segment of the Store Leadership Development Program allows trainees to become familiar
      with our organization, store structure, and culture before they begin the Role-Based weeks of Store
      Leadership Development training. Onboard weeks are for new-to-company leaders and associates with no
      department experience.
      Trainees use this time to begin their required online learning modules in KnowMe Learning and learn about
      and experience the store environment and culture.
      Trainees will also spend time with department leaders to become familiar with each one. Store leaders will
      work with trainees to ensure their in-store experiences are scheduled around the activities in the Onboard
      Weeks guide and store management schedules.
      If trainees completed the Preboard weeks, they will not participate in the Day 1 activities listed in the
      Onboard Weeks guide as they will have already done that. Instead, their training will be a continuation of
      what they experienced during the Preboard weeks.
      Onboard Week Activities
      Some of the activities and experiences during the three Onboard weeks include the following:
      •   Required Online Learning Modules in KnowMe Learning
      •   Zero Hunger | Zero Waste discussion with store leader
      •   Virtual presentation and discussion about the retail industry, our organization, foodie culture, and more
          with the Store Leadership Development Program Manager
      •   Learning about store management roles and responsibilities
      •   Working with department leaders throughout the store
      •   Experiencing the Effective Store Walk
      •   Job shadow assistant store leader(s)
      •   Weekly check-ins with the store leader




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      Schedule Week 4

           DAY                                ACTIVITY                                           LED BY/WORK WITH
           Mon.       •   Launch calls with Enterprise and Division (3-4 hrs)           •   Virtual Session
                      •   Our Promise Shops (1 hr)                                      •   Virtual Session
                      •   Corporate Affairs (1 hr)                                      •   Virtual Session
                      •   Effective Store Walk                                          •   Store leader
                      •   Take Food Safety modules if you haven’t taken these.          •   Online module work

           Tues.      • Front-end (4 hrs)                                               • Virtual Session
                      • Safety (2 hrs)                                                  • Virtual Session

          Thurs.      •   Ethics/Harassment (2 hrs)                                     •   Corporate Trainer
                      •   Unconscious Bias (2 hrs)                                      •   Corporate Trainer
                      •   Cohort Networking Session (1.5 hrs)                           •   Virtual Session
                      •   Shadow and work with assistant store leader(s).               •   Assistant store leader(s)

          Store       • Attend A Fresh Welcome session                                  • Assistant store leader/HR process
         Leader                                                                           owner
        Scheduled     • Front-end department                                            • Front-end department leader
                      • Our Leadership Model: Puts the Customer First: Striving         • Store leader
                        to delight individual customers

          Store       • Shadow and work with assistant store leader(s).                 • Assistant store leader(s)
         Leader       • Effective Store Walk(s)                                         • Store leader
        Scheduled     • End-of-week check-in                                            • Store leader



      DIVISION-SPECIFIC TRAINING


          WHAT                                                                WHAT


           WHO                                                                WHO


          TIMING                                                             TIMING


          INFO/                                                              INFO/
         DETAILS                                                            DETAILS


         ACTION                                                             ACTION


        CONTACT                                                            CONTACT


           LINK                                                               LINK




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      Schedule Week 5

           DAY                                ACTIVITY                                         LED BY/WORK WITH
           Tues.      • Our Brands (1 hr)                                               • Virtual Session
                      • Asset Protection (3 hrs)                                        • Virtual Session
                      • Center store department focus                                   • Grocery department leader

           Wed.       • HR Systems (2 hrs)                                              • Virtual Session: HR Generalist
                      • Talent/Performance (1 hr)                                       • Virtual Session: Performance
                                                                                          Development CoE
                      • Shadow and work with assistant store leader(s).                 • Assistant store leader(s)

          Thurs.      • CAO class (4 hrs)                                               • Virtual Session
                      • Center store department focus                                   • Assistant store leader(s)

          Store       • Effective Store Walk                                            • Store leader
         Leader       • Center store department focus                                   • Grocery department leader
        Scheduled     • Our Leadership Model: Communicates Effectively and              • Store leader
                        Candidly: Consistently listening and keeping associates
                        informed

          Store       • Shadow and work with assistant store leader(s).                 • Assistant store leader(s)
         Leader       • Effective Store Walk(s)                                         • Store leader
        Scheduled     • End-of-week check-in                                            • Store leader




      DIVISION-SPECIFIC TRAINING


          WHAT                                                                WHAT


           WHO                                                                WHO


          TIMING                                                             TIMING


          INFO/                                                              INFO/
         DETAILS                                                            DETAILS


         ACTION                                                             ACTION


        CONTACT                                                            CONTACT


           LINK                                                               LINK




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      Schedule Week 6

           DAY                                ACTIVITY                                          LED BY/WORK WITH
           Tues.      • Labor/ELMS/Expense (4 hrs)                                      • Virtual Session
                      • Center store department focus                                   • Grocery department leader
                        (continued from last week)


          Thurs.      •   P&L Review/709 Review (2 hrs)                                 •   Store leader
                      •   eCommerce (2 hrs)                                             •   Virtual Session
                      •   Training, Onboarding, & Associate Development (2 hrs)         •   Virtual Session
                      •   Pickup department                                             •   eCommerce supervisor

          Store       • Effective Store Walk                                            • Store leader
         Leader       • Center store department focus                                   • Grocery department leader
        Scheduled       (continued from last week)

          Store       • Shadow and work with assistant store leader(s).                 • Assistant store leader
         Leader       • Our Leadership Model: Achieves Results Through                  • Store leader
        Scheduled       Teamwork: Encouraging teamwork


          Store       • Pickup department                                               • eCommerce supervisor
         Leader       • Effective Store Walk(s)                                         • Store leader
        Scheduled     • In-depth KnowMe evaluation/feedback loop on                     • Store leader
                        performance thus far, plus evaluation on leadership
                        capabilities focused on the last three weeks.




      DIVISION-SPECIFIC TRAINING


          WHAT                                                                WHAT


           WHO                                                                WHO


          TIMING                                                             TIMING


          INFO/                                                              INFO/
         DETAILS                                                            DETAILS


         ACTION                                                             ACTION


        CONTACT                                                            CONTACT


           LINK                                                               LINK



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      Schedule Week 7

           DAY                                ACTIVITY                                           LED BY/WORK WITH
           Tues.      • Fuel (1 hr)                                                     • GO. Virtual Session
                      • HR information (2 hrs)                                          • GO Virtual Session
                      • Shadow and work with assistant store leader(s).                 • Assistant store leader(s)

          Thurs.      • Management 101 (2 hrs)                                          • Corporate Trainer
                      • Accelerated Leadership Development Program                      • Corporate Trainer
                        classes (30 min)
                      • Pharmacy/TLC (1 hr)                                             • GO Virtual Session
                      • Shadow and work with assistant store leader(s).                 • Assistant store leader(s)

            Fri.      • Fresh Department Asset Protection & Waste (2 hrs)               • GO Virtual Session
                      • Business Impact discussion (2 hrs)                              • Trainee via Virtual Session
                      • Lead huddles throughout the day.                                • Trainee

          Store       • Fuel department                                                 • Fuel department leader
         Leader       • Shadow and work with assistant store leader(s).                 • Assistant store leader(s)
        Scheduled     • Our Leadership Model: Provides Clear & Strategic                • Store leader
                        Direction: Planning work

          Store       •   Effective Store Walk                                          •   Store leader
         Leader       •   Shadow and work with assistant store leader(s).               •   Assistant store leader(s)
        Scheduled     •   Lead huddles throughout the day.                              •   Trainee
                      •   End-of-week check-in                                          •   Store leader




      DIVISION-SPECIFIC TRAINING


          WHAT                                                                WHAT


           WHO                                                                WHO


          TIMING                                                             TIMING


          INFO/                                                              INFO/
         DETAILS                                                            DETAILS


         ACTION                                                             ACTION


        CONTACT                                                            CONTACT


           LINK                                                               LINK



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      Schedule Week 8

           DAY                                ACTIVITY                                         LED BY/WORK WITH
           Tues.      • Total Rewards (2 hrs)                                           • GO Virtual Session
                      • Talent Acquisition (2 hrs)                                      • GO Virtual Session
                      • Additional time with Pickup department                          • eCommerce supervisor & Pickup team

          Thurs.      • CAO discussion session (4 hrs)                                  • GO and Division Virtual Session
                      • Shadow and work with assistant store leader(s).                 • Assistant store leader(s)


          Store       • Effective Store Walk                                            • Store leader
         Leader       • Center store department Detailed Walk                           • Grocery department leader &
        Scheduled                                                                         Trainee
                      • Shadow and work with assistant store leader(s).                 • Assistant store leader(s)

          Store       • Front-end, Customer Service desk                                • Front-end team
         Leader       • Our Leadership Model: Leads Through Positive                    • Store leader
        Scheduled       Influence: Creating an uplifting environment

          Store       • Shadow and work with assistant store leader(s).                 • Assistant store leader(s)
         Leader       • Effective Store Walk(s)                                         • Store leader
        Scheduled     • End-of-week check-in                                            • Store leader




      DIVISION-SPECIFIC TRAINING


          WHAT                                                                WHAT


           WHO                                                                WHO


          TIMING                                                             TIMING


          INFO/                                                              INFO/
         DETAILS                                                            DETAILS


         ACTION                                                             ACTION


        CONTACT                                                            CONTACT


           LINK                                                               LINK




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      Schedule Week 9

           DAY                                ACTIVITY                                         LED BY/WORK WITH
          Thurs.      • Financials (SOS, Dodeca, FCB) (4 hrs)                           • Virtual Session
                      • Shadow and work with assistant store leader(s).                 • Assistant store leader

          Store       • Effective Store Walk                                            • Store leader
         Leader       • Shadow and work with assistant store leader(s).                 • Assistant store leader(s)
        Scheduled     • Lead huddles throughout the day.                                • Trainee

          Store       • Food safety training and certification (8 hrs)                  • Division-owned training
         Leader
        Scheduled

          Store       • Shadow and work with assistant store leader(s).                 • Assistant store leader
         Leader       • Lead huddles throughout the day.                                • Trainee
        Scheduled     • Our Leadership Model: Executes With Excellence:                 • Store leader
                        Striving to exceed expectations

          Store       • Effective Store Walk(s)                                         • Store leader
         Leader       • Work on assistant store leader topics.                          • Trainee
        Scheduled     • In-depth KnowMe evaluation/feedback loop on                     • Store leader
                        performance thus far, plus evaluation on leadership
                        capabilities focused on the last three weeks




      DIVISION-SPECIFIC TRAINING


          WHAT                                                                WHAT


           WHO                                                                WHO


          TIMING                                                             TIMING


          INFO/                                                              INFO/
         DETAILS                                                            DETAILS


         ACTION                                                             ACTION


        CONTACT                                                            CONTACT


           LINK                                                               LINK




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      Schedule Week 10

           DAY                                 ACTIVITY                                          LED BY/WORK WITH
           Tues.       • Produce Merchandising (2 hrs)                                  • Virtual Session
                       • Deli/Bakery Merchandising (2 hrs)                              • Virtual Session
                       • Work with assistant store leader(s).                           • Assistant store leader(s)

           Wed.        •   Meat/Seafood Merchandising (2 hrs)                           •   Virtual Session
                       •   Drug/GM Merchandising (2 hrs)                                •   Virtual Session
                       •   Produce department                                           •   Produce department leader
                       •   Our Leadership Model: Coaches and Develops Others:           •   Store leader
                           Empowering others to teach through stories and
                           modeling a commitment to diversity and inclusion

          Thurs.       •   Expanded GM for select divisions (2 hrs)                     •   GO Virtual Session for select divisions
                       •   Grocery Merchandising, including Shrink (2 hrs)              •   GO Virtual Session
                       •   Merchandising/Marketing (1 hr)                               •   GO Virtual Session
                       •   Work with assistant store leader(s).                         •   Assistant store leader(s)

          Store        • Effective Store Walk                                           • Store leader
         Leader        • Produce department                                             • Produce department leader
        Scheduled

          Store        •   Effective Store Walk                                         •   Store leader
         Leader        •   Work with assistant store leader(s).                         •   Assistant store leader(s)
        Scheduled      •   Lead huddles throughout the day.                             •   Trainee
                       •   End-of-week check-in                                         •   Store leader



      DIVISION-SPECIFIC TRAINING


          WHAT                                                                WHAT


           WHO                                                                WHO


          TIMING                                                             TIMING


          INFO/                                                              INFO/
         DETAILS                                                            DETAILS


         ACTION                                                             ACTION


        CONTACT                                                            CONTACT


           LINK                                                               LINK




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      Schedule Week 11

           DAY                                ACTIVITY                                           LED BY/WORK WITH
           Tues.      •   Effective Store Walk                                          •   Store leader
                      •   KOMPASS (1 hr)                                                •   Store leader
                      •   DSD/Logistics (1 hr)                                          •   Store leader
                      •   Positive Associate Relations/Labor (2 hrs)                    •   GO Virtual Session
                      •   Work with assistant store leader(s).                          •   Assistant store leader(s)

          Thurs.      • Associate Relations: Division presentation (2-4 hrs)            • Division Virtual Session
                      • Impact Map activity/discussion (2 hrs)                          • GO Virtual Session
                      • Work with assistant store leader(s).                            • Assistant store leader(s)

          Store       • Deli/Bakery departments                                         • Deli/Bakery department leader(s)
         Leader
        Scheduled

          Store       • Meat/Seafood department                                         • Meat/Seafood department leader
         Leader       • Our Leadership Model: Leads Change and Innovation:              • Store leader
        Scheduled       Working to make things better by identifying new
                        opportunities for the store, department, or facility

          Store       • Effective Store Walk(s)                                         • Store leader
         Leader       • Work with assistant store leader(s).                            • Assistant store leader(s)
        Scheduled     • End-of-week check-in                                            • Store leader




      DIVISION-SPECIFIC TRAINING


          WHAT                                                                WHAT


           WHO                                                                WHO


          TIMING                                                             TIMING


          INFO/                                                              INFO/
         DETAILS                                                            DETAILS


         ACTION                                                             ACTION


        CONTACT                                                            CONTACT


           LINK                                                               LINK




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      Schedule Week 12

           DAY                                ACTIVITY                                         LED BY/WORK WITH
           Tues.      • Conducting Effective 1 on 1 Meetings (1.5 hrs)                  • Corporate trainer
                      • Work with assistant store leader(s).                            • Assistant store leader(s)

          Thurs.      • Inclusive Leader: Maximizing the Mix (3 hrs)                    • Corporate trainer
                      • Work with assistant store leader(s).                            • Assistant store leader
                      • Lead huddles throughout the day.                                • Trainee

          Store       • Effective Store Walk                                            • Store leader
         Leader       • Work with assistant store leader(s).                            • Assistant store leader
        Scheduled     • Lead huddles throughout the day.                                • Trainee

          Store       • Drug/GM department (for divisions with expanded                 • Drug/GM department leader;
         Leader         GM departments, work in those departments too:                    GM/Apparel/Home department
        Scheduled       Apparel, Home/Housewares, Home Electronics)                       leaders as applicable for expanded
                                                                                          markets

          Store       • Effective Store Walk(s)                                         • Store leader
         Leader       • Work on assistant store leader topics and work in any           • Trainee
        Scheduled       departments you feel you need more time in.
                      • In-depth KnowMe evaluation/feedback loop on                     • Store leader
                        performance thus far, plus evaluation on leadership
                        capabilities focused on the last three weeks.




      DIVISION-SPECIFIC TRAINING


          WHAT                                                                WHAT


           WHO                                                                WHO


          TIMING                                                             TIMING


          INFO/                                                              INFO/
         DETAILS                                                            DETAILS


         ACTION                                                             ACTION


        CONTACT                                                            CONTACT


           LINK                                                               LINK




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      Week 13: Validation Week
      The Final Validation identifies whether trainees have successfully completed the Store Leadership
      Development Program and meet the performance expectations of an assistant store leader. The Final
      Validation consists of an in-person performance validation walk with the trainee’s district manager.




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      Store Leadership
      Development Program
      EFFECTIVE STORE WALK TIMELINE


                    Effective Store Walk – Salary Manager Timeline
       7:00AM – 7:30AM: Arrival
           •   Drive around the building – Check conditions
           •   Park near fuel center – Walk Detailed Fuel Walk with fuel lead
           •   Visually inspect opening courtesy clerk list: Parking lot, trash cans, restrooms, mart carts, foyers, porch, windows, doors, etc.
           •   Primary purpose – “Set the tone”
           •   Walk with night leader/3rd shift ASM
           •   Opening clerks have all arrived
           •   First touch is underway
           •   Any urgent issues are being addressed

       7:30AM: Office Time
           •   Pull any report necessary to complete the detailed store walk. These may include;
                       o Metric OOS Report, Sales, Connection Shops, Labor Analysis, Sales Planners, Store Manager Exception Reports, OSAT
                            scores/comments, and any division specific reporting
           •   If it is a process walk day, set expectation for ASM using the new process walk sheets
           •   ASM performing the process walk should assist store manager for first 1-2 hours of the day before breaking off to complete the
               process walk. (The ASM is released once the store manager decides store conditions and the customer experience are to standard, or
               will be, by the required time.)

       8:00AM: Detailed Store Walk
           •   8:00AM – 8:30AM: Drug/GM (includes home, apparel, and kitchen)
           •   8:30AM – 9:30AM: Grocery
           •   9:30AM – 9:45AM: Huddle – always on the sales floor and should always be about customers and associates
           •   9:45AM – 10:15AM: Fresh departments in the order of your store flow: produce, deli, bakery, meat
           •   10:15AM – 10:45AM: Fresh departments in the order of your store flow: produce, deli, bakery, meat
           •   10:45AM – 11:15AM: Fresh departments in the order of your store flow: produce, deli, bakery, meat
           •   11:15AM – 11:45AM: Fresh departments in the order of your store flow: produce, deli, bakery, meat
           •   11:45AM – 12:00PM: PIckup
           •   12:00PM – 12:15PM: Front-end
           •   12:15 – 12:20PM: Pharmacy (Check Rx Reportal, verify script counts for the day, and discuss MTM)

       12:20PM: Lunch
       1:00PM – 10:00PM: Quick Walks
           •   Lap store every hour giving direction; look for hourly conditioning in each department
           •   Follow up on lists prepared during first touch and the detailed walk
           •   Give constant “real” time direction and keep associates motivated and informed
           •   Conduct afternoon huddle

       3:30PM – 5:00PM: Fresh at Five
           •   Initiate the process at 3:30PM – Each department should follow their specific “Fresh and Five” sheet

       4:30PM – 5:00PM: Pass the Baton to closing ASM
           •   Take 30 minutes to walk the store with closing ASM
           •   Verify Fresh at Five is complete
           •   Set expectations with closing clerk(s)
           •   Ensure clerks understand the ASM must sign off on Getting a Good Close before signing out

       5:00PM – Close:
           •   ASM continues to execute hourly conditioning and hourly quick walks
           •   Closing list should be 100% complete, otherwise, notes should be provided




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      FIRST TOUCH
        Tools: Detailed Walk sheet, RF unit, label printer, yesterday’s Getting a Good Close, cleaning
        supplies
        Owner: Department Manager, Back-Up, Opening Clerk
        Purpose: Prepare dept. for a good Customer Experience, evaluate / prioritize work for the day
        When: First thing each morning – completed before Store Management begins their Detailed
        Walk

        1. Prepare First Touch Cart              2. Review Getting a Good Close          3. Work through All Areas




      • Prepare the First Touch cart           • Review last night’s Getting            • Start the First Touch walk at
        with all necessary tools and             a Good Close document.                   the furthest point from the
        supplies.                                                                         department and work back.
                                                  Why: Gain a better
         Why: Improve walk efficiency             understanding of who closed             Why: Provides opportunity to
         by beginning the walk with               the department and store,               evaluate and address entire
         all of the necessary tools               what did or did not happen,             department in a streamlined
         on-hand and accessible.                  and why.                                and efficient manner.

        4. Address Minor Issues                  5. Record Significant Issues




      • Using tools from the First              • For issues that will take
        Touch cart, immediately                   longer than 2 minutes to
        address any issue that can                resolve, record them on the
        be fixed within 2 minutes                 Detailed Walk sheet to
        like – conditioning, printing             address or delegate later.
        a new tag, or collecting a
        go-back.                                   Why: Allows team to
                                                   evaluate and prioritize entire
         Why: Saves time by                        department before getting
         addressing minor issues on-               absorbed into large projects.
         the-spot.
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      FIRST TOUCH FAQS
        FAQs
        Q: What could cause First Touch to take a long time?
        A: Several issues can cause a First Touch to take longer than it should. A good First Touch process really
           starts with Getting a Good Close. If the closing process from the previous night wasn’t a success,
           First Touch becomes more time-consuming. The same is true for Hourly Conditioning. If associates
           aren’t conditioning for short periods of time throughout the day, the next day’s First Touch is more
           difficult. If First Touch seems to be taking too long, work with the department and store
           management team to ensure that each element of the Effective Store Walk is being executed
           throughout the day.
        Q: Why is First Touch important?
        A: There are two primary reasons why First Touch is critical to a great Customer Experience.
           • First, completing First Touch ensures we assess the status of our entire department. By starting
              from the furthest point away and working our way back, we truly understand the health of our
              department and know how to prioritize our work for the day. Without this full-department
              assessment, we might begin working on a low-priority project, unaware that a high-priority
              project is in need of attention.
           • Second, we know once we begin a project, we will lose sight of the department. By completing
              First Touch before starting other projects, we can feel comfortable and confident that we’ve
              created the best shopping experience possible with what we currently have, before getting
              absorbed into a specific area.
        Q: How can the whole department assist in First Touch?
        A: Ensuring all associates know how to complete First Touch will make the department successful. Work
           with your district coordinator to develop a First Touch guide or route. Laminate that guide or route
           and attach it to the back of your Detailed Walk clipboard. Anyone can then use the guide or route as
           a reference as they complete First Touch to ensure they don’t miss any areas.




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      DETAILED WALK
        Tools: Store Walk Cart
        Owner: Store Management, Department Leader
        Purpose: Establish priorities for the day, affect store conditions, inspire associates
        When: Daily 8 a.m. – 12 p.m.

                       1. Prepare Store Walk Cart                           2. Stick to the Timeline




                     • Store Manager: Prepare the                         • Store Manager: Be diligent about
                       Store Walk Cart with the tools                       sticking to the timeline. Start and
                       and reports needed to conduct                        finish each department at the same
                       a Detailed Walk.                                     time each day.

                        Why: Improve efficiency by                           Why: Consistency helps associates
                        starting the walk with all of the                    understand expectations and
                        necessary tools and data                             ensures every area is visited by
                        on-hand and accessible.                              management.

                       3. Present Department                                4. Score the Department




                    • Department Leader and Store                         • Department Leader: Score your
                      Manager: Walk the department                          department.
                      together. Discuss which items are a                 • Store Manager: Also provide a
                      high priority, who will accomplish                    score, and discuss why that score
                      them, and when they can be                            was given.
                      accomplished by.                                    • (Goal = 85% every day).

                       Why: Helps department teams think                     Why: Helps our department teams
                       about strategy and assessing                          understand what is most
                       workloads. Establishes expectations                   important to customers.
                       for management to follow up on
                       later.

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      DETAILED WALK FAQS
        FAQs
        Q: Does the Detailed Walk still take place on the Store Manager’s days off?
        A: Yes. The entire Effective Store Walk, including the Detailed Walk, needs to take place every day
           regardless of which member of store management is present
        Q: Can a department be skipped if they look good?
        A: No. Every department must be visited and scored every day. Even if a department looks good at
           surface level, the Detailed Walk can help uncover blemishes. Praise should be given to a department
           performing well. Time should be spent teaching the small details if a department isn’t yet meeting
           the goal.
        Q: How is a department scored? What’s a good score?
        A: 100% would be considered absolutely perfect. 85% is the daily goal. Anything above 85% means a
           department is delivering everything that our customers expect, and then some. Below 85% means
           that the department isn’t delivering everything that our customers would expect from their shopping
           experience. Look at the department through the eyes of a customer.
        Q: Can the order of departments be adjusted?
        A: Yes. Center store should be first because of their earlier up-and-ready time. Fresh departments can
           and should be walked in the order of their flow inside of each store.
        Q: What if a department is taking too long?
        A: Priorities for the department should be discussed first. The Store Manager will need to finish walking
           the department after all of the remaining departments have been completed. Avoid going beyond
           the allotted timeslot for each department. It’s important to get through the entire store before
           getting absorbed into a department.




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      Store Leadership
      Development Program
      DETAILED WALK DOCUMENTS


                                 DETAILED WALK - GROCERY-DAIRY-FROZEN
              Date: ____________________                                                                          Sales vs LY %                              Sales $ vs
                                                            Sales vs LY % Yesterday
              Dept. Lead: _______________                                                                             WTD                                  Forecast WTD

                                                                                           FRIENDLY
              Provide Store Leader with an Uplift story.           Discuss any customer comments that are relevant to                   Discuss "Huddle Topic of the Day".
                          Uplift Every Way!                                   the department or associate.                                 Gather associate feedback.




               Scan 10 random out of stocks from prior
                                                                                                                                    Verify backstock has been worked. Utilize
              days cycle count. Discuss 6 behaviors of               Review MDC Process completion for previous day.
                                                                                                                                             Top Stock APP to confirm.
                              In Stock.
              Check scorecard and discuss yesterdays                  Walk endcaps and share builders for sales plan                  Check and discuss adjusted orders on
              scan outs. Question high and low counts.                  execution and merchandising standards.                                     scorecard.

                   Discuss and review department                     Walk and discuss execution of Display Setup for ad
                                                                                                                                    Review and discuss shipper execution per
               conditioning standards (including frozen           items and Additional Product located tags on displayed
                                                                                                                                                 Best Practice.
                              and dairy).                                                 items.
                                                                  Discuss and review department conditioning standards
                   Review DSD OOS opportunities.                                                                                    Discuss process completion week to date.
                                                                                (including frozen and dairy).

               Discuss markdown opportunities. Check              Review scorecard for manual replenishment execution.
               section for organization and shopability.                         Discuss opportunities.
                                                                                                                                                 Open Topic

                                                                                              FRESH
               Check milk freshness program. No more
                                                                                                                                    Verify Code Date Management completed
               than two dates of like item on shelf and                Review and discuss backroom 5S conditions.
                                                                                                                                                with RF handheld.
                        rotated to selling zone.
              Discuss that E-transfer process is occuring
                                                                                                                                       Theft deterrent EAS tags and if found
                and product transfers/ Starbucks are                 Review air curtains and freezer floor cleanliness.
                                                                                                                                        labels in place on Tide/Gain/Pods.
                    completed per best practice.
                                                                                                                                        Visually verify cooler and freezer
                Verify that Dairy cleaning calendar is              Review Rotation Section for week for Grocery, Dairy,
                                                                                                                                     donations have been collected and are
                               current.                                    and Frozen _______________________
                                                                                                                                             clean and organized.


                                                                 FIRST TOUCH LIST / FOLLOW-UP ITEMS
                  1                                                                                                 6
                  2                                                                                                 7
                  3                                                                                                 8
                  4                                                                                                 9
                  5                                                                                                 10

                                 Elevate Observation Items                                                      Opening Manager Comments                             Department Score

                  1      Verify that associates are spotting to the right

                         Verify that associates are working in U-shape left
                  2
                         to right
                         Verify that associates condition commodities as
                  3
                         they throw
                         Bring a bag for plastic and boxes for cardboard,
                  4
                         damages and re-shop.
                         Check that night crew has filled out truck
                  5                                                                                             Frozen BOH Accuracy Dairy BOH Accuracy      Groc.    Com. Brd.     Liquor
                         completion survey
                  6      Check that productivity board has been updated
                         Share current department labor standings (refer
                  7      to division labor reporting). React or celebrate as
                         needed.
              Ma na ger Si gna ture:                                                                                 Past 7 Days - % 0 Exact Accuracy                   Version   2/18/2021




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                                                      DETAILED WALK - DRUG GM
        Date: ____________________                                                                           Sales vs LY %                              Sales $ vs
                                                      Sales vs LY % Yesterday
        Dept. Lead: _______________                                                                              WTD                                  Forecast WTD

                                                                                     FRIENDLY
         Provide Store Leader with an Uplift story.          Discuss any customer comments that are relevant to                     Discuss "Huddle Topic of the Day".
                     Uplift Every Way!                                  the department or associates.                                  Gather associate feedback.


                                                                                          FULL
                                                                                                                                       Review prior days Directed
              Scan 10 random out of stocks.
                                                               Review MDC Process completion for previous day.                       Replenishment process discuss
              Discuss 6 behaviors of In Stock.
                                                                                                                                             opportuniites.


          Check front sidewalk merchandising for                Walk endcaps and share builders for sales plan                 Scan 10 items alternating backstock carts
           fullness and correct/missing signage.                  execution and merchandising standards.                        to verify execution of E-transfer process.

                                                               Check all displays including front porch, end caps,              Walk seasonal aisle, kitchen place, and
        Visually verify that reclamation is scanned
                                                             share builder and promotional areas for fullness and                    apparel for fullness and daily
                  and processed properly.
                                                                                 correct signing.                                           conditioning.
                                                                                                                                  Verity that Red Dot items, tobacco,
         Check cosmetics for fullness, cleanliness,            Walk Telecomm fixtures near Money Services for
                                                                                                                               cosmetics are secured and to standard in
             and conditioning per standards.                            fullness and correct signing.
                                                                                                                                                 cage.
         Discuss markdown opportunities. Check                 Walk gift card towers, kiosks, and ends for correct
         section for organization and shopability.                          bonus fuel point signage.
                                                                                                                                             Open Topic


                                                                                         FRESH
        Verify Code Date Management completed                                                                                        Review and discuss backroom 5S
                                                               Discuss department conditioning and cleanliness.
                    with RF handheld.                                                                                               conditions to ensure organization.

             Review rotation section for week                Confirm shippers/PDQs in backroom and salesfloor are               Follow up on rotation section for week
                 _______________________                           dated, take action, fill, pull, and relocate.                       _______________________

                                                             Check that older markdowns on shelf are revisited for
         Review WOW/Seasonal aisle readiness.
                                                                             additional reduction.
                                                                                                                                             Open Topic


                                                           FIRST TOUCH LIST / FOLLOW-UP ITEMS
            1                                                                                                  6
            2                                                                                                  7
            3                                                                                                  8
            4                                                                                                  9
            5                                                                                                 10

                           Elevate Observation Items                                                       Opening Manager Comments                              Department Score
                   Verify that associates are working in U-shape left
            1
                   to right
                   Verify that associates condition commodities as
            2
                   they throw
                   Bring a bag for plastic and boxes for cardboard,
            3
                   damages and re-shop.
            4      Check that productivity board has been updated
                   Share current department labor standings (refer
            5      to division labor reporting). React or celebrate as
                   needed.
                                                                                                                     BOH Accuracy




        Ma na ger Si gna ture:                                                                                  Past 7 Days - % 0 Exact Accuracy                   Version   2/18/2021




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                                                       DETAILED WALK - DELI
         Date: ____________________                    Sales vs LY %                            Sales vs LY %                          Sales $ vs
         Dept. Lead: _______________                    Yesterday                                   WTD                              Forecast WTD

                                                                               FRIENDLY
          Provide Store Leader with an Uplift story.          Discuss any customer comments that are               Discuss "Huddle Topic of the Day".
                      Uplift Every Way!                      relevant to the department or associates.                Gather associate feedback.


                                                                                     FULL
                                                                  Walk customer seating area for
          Verify that Grab-N-Go PPST/APP is being                                                                Yellow=Raw standards are in place per
                                                                    cleanliness and sufficient
                followed. Discuss any zeros.                                                                               Best Practices.
                                                                        supplies/utensils.
         Walk bulk meat/cheese service case for in            Walk salad and cheese case for correct
                                                                                                                 Discuss and review Fresh Kitchen CAO.
         stock position. Observe 3 steps of superior          schematic, sign standards, quality, and
                                                                                                                    Review 5 BOH accuracy and MDS.
                  service for Boar's Head.                                  freshness.
                                                                                                                   Review Bulk Movement order guide
            Cold Chicken set to POG with variety              Verify backstock/rack is set up and being
                                                                                                                    execution. Boar's Head & Private
                 (including pulled chicken).                                worked daily.
                                                                                                                                Selection.
             Review and discuss Store Manager                                                                   Starbucks associate in approved uniform
                                                              Review schedule to ensure 15-rating for
              Exception Report (SMER). Identify                                                                    and using brewing timer. Verify Best
                                                                     next two week is at goal
                       opportunities.                                                                            Practices (ex: Customer name on cup).
                                                              Utilizing pre-sliced cheese in the FSGNG,
           Walk and discuss CAP/APP execution.
          Verify (5) random products for execution.
                                                              case set to POG and product is packaged                       Open Topic
                                                                     and labeled to Best Practice.

                                                                                  FRESH
              Review and discuss backroom 5S                   Review freshness checks and rotation
                                                                                                                       Review temperature logs.
                       conditions.                                          calendar.

         Verify Code Date Management completed                   Verify cooler donations have been               Discuss department conditioning and
                     with RF handheld.                         collected and are clean and organized.                        cleanliness.

           Review known loss and E-40 samples.                 Check for day dots on meat and cheese
                  Discuss opportunities.                                       chubs.
                                                                                                                            Open Topic

                                                       FIRST TOUCH LIST / FOLLOW-UP ITEMS
             1                                                                                    9
             2                                                                                   10
             3                                                                                   11
             4                                                                                   12
             5                                                                                   13
             6                                                                                   14
             7                                                                                   15
             8                                                                                   16

                              Opening Manager Comments                                                                                    Department Score




         Manager Signature:                                                                                                                       Version   2/18/2021




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                                  DETAILED WALK - PRODUCE/FLORAL
         Date: ____________________                    Sales vs LY %                            Sales vs LY %                            Sales $ vs
         Dept. Lead: _______________                    Yesterday                                   WTD                                Forecast WTD

                                                                               FRIENDLY
          Provide Store Leader with an Uplift story.          Discuss any customer comments that are               Discuss "Huddle Topic of the Day".
                      Uplift Every Way!                      relevant to the department or associates.                Gather associate feedback.


                                                                                    FULL
                Scan 5 random out of stocks.                   Verify that wet rack items are trimmed             Walk all secondary locations for full,
               Discuss 8 behaviors of In Stock.                  and conditioned per Best Practice.                 fresh, and quality standards.

          Check for "Red Bag" execution. Utilize RF
                                                             Check variety, quality, and conditioning of        Walk "Condition for Today" and "Condition
             handheld and F3 to view 28 day
                                                                      the Floral department.                           for Tomorrow" in backroom.
                        movement.
           Observe associates to ensure they are               Walk wet rack, tables, and refrigerated          Review daily shrink tracking, known loss,
            culling out of the box as they stock.              product for merchandising standards.             and E-40 samples. Discuss opportunities.

            Scan 5 Lows or holes in dry packaged                Review clipboard list o execution.
                                                                                                                  Check bags and twist ties for fullness.
                 produce for BOH accuracy.                    Compare list on cart to product on cart.

             Review and discuss Store Manager
                                                                 Review bagged salad set for proper
              Exception Report (SMER). Identify
                                                              rotation and markdown policy is in place.
                                                                                                                             Open Topic
                       opportunities.

                                                                                  FRESH
              Review and discuss backroom 5S                                                                    Verify there is no damaged, outdated, or
                                                                Walk cooler for dating and rotation.
                       conditions.                                                                               poor quality product on the sales floor.
                                                                                                                    Check wet rack for deep-cleaning
          Review Code Date Management with RF                  Walk salesfloor for table and wet rack
                                                                                                                  execution. Look for dirty or damaged
                       handheld.                                            cleanliness.
                                                                                                                                 signs.

           Review freshness checks and rotation                Observe associates to ensure they are
                        calendar.                                 cleaning fixtures as they stock.
                                                                                                                             Open Topic


                                                       FIRST TOUCH LIST / FOLLOW-UP ITEMS
             1                                                                                    9
             2                                                                                   10
             3                                                                                   11
             4                                                                                   12
             5                                                                                   13
             6                                                                                   14
             7                                                                                   15
             8                                                                                   16

                              Opening Manager Comments                                                                                      Department Score




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                                                    DETAILED WALK - BAKERY
         Date: ____________________                    Sales vs LY %                             Sales vs LY %                             Sales $ vs
         Dept. Lead: _______________                    Yesterday                                    WTD                                 Forecast WTD

                                                                                FRIENDLY
          Provide Store Leader with an Uplift story.          Discuss any customer comments that are                 Discuss "Huddle Topic of the Day".
                      Uplift Every Way!                             relevant to the department.                         Gather associate feedback.


                                                                                     FULL
                                                                                                                  Discuss conditioning and cleanliness of
              Walk and discuss CAP execution.                    Walk Artisan Bread display ensuring
                                                                                                                 displays including roll bins, bread fixtures,
             Verify 5 random items for execution                sliced varieties are available all day.
                                                                                                                              and pastry cases.

           Check 5 random CAO item out of stocks              Check promotional displays for fullness               Review single serve case to ensure all
                    for for BOH accuracy                               and correct signage.                      items include calorie counts on shelf tags.

           Ensure Artisan Breads are merchandised                                                                    Review bulk donut case ensuring
                                                             Walk tables for correct schematic, quality,
          in bags and display is tagged with product                                                               descriptor tags include calories, and
                                                                       labeling, and dating.
                       description tags.                                                                           ingredient statements are available.
             Review and discuss Store Manager                  Discuss refrigerated cake case. Cakes
              Exception Report (SMER). Identify              decorated to ensure it reflects seasonally                        Open Topic
                       opportunities.                                     relevant colors.
          Review order guide to ensure inventory is
                                                             Walk freezer case and discuss fullness and
            recorded prior to order (check last 3
                                                                     proper rotation of product.
                                                                                                                               Open Topic
                          orders).

                                                                                   FRESH
          Review and discuss backroom and freezer             Discuss conditioning and cleanliness of             Walk markdown rack for cleanliness and
                       5S conditions.                            cases, including glass and vents.                   organization. No shopping carts.

           Review cooler/freezer dating process.                Walk product quality and rotation,               Verify donations have been collected and
            Verify whippy icing process followed.             ensuring staggered dates on each table.                     are clean and organized

                    Review and discuss                         Review freshness checks and rotation
                 "Markdown Effectiveness".                                  calendar.
                                                                                                                               Open Topic


                                                       FIRST TOUCH LIST / FOLLOW-UP ITEMS
             1                                                                                      9
             2                                                                                     10
             3                                                                                     11
             4                                                                                     12
             5                                                                                     13
             6                                                                                     14
             7                                                                                     15
             8                                                                                     16

                              Opening Manager Comments                                                                                        Department Score




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                                   DETAILED WALK - MEAT + SEAFOOD
          Date: ____________________                    Sales vs LY %                             Sales vs LY %                         Total Sales $ vs
          Dept. Lead: _______________                    Yesterday                                    WTD                                Forecast WTD

                                                                                 FRIENDLY
          Provide Store Leader with an Uplift story.           Discuss any customer comments that are                Discuss "Huddle Topic of the Day".
                      Uplift Every Way!                       relevant to the department or associates.                 Gather associate feedback.


                                                                                      FULL
                Scan 5 random out of stocks.                   Verify that APP tool is being followed on
                                                                                                                   Verify that CAP cart is set to standards.
               Discuss 8 behaviors of In Stock.                full service cases and set to schematic.

          Review POT is printed prior to first new ad              Walk multi-deck for conditioning.               Review inventory is taken in the order
                order and on Thursday a.m.                             Review new ad signage.                           guide (check last 3 orders).

             Check 10 random ID tags for variety.                                                                  Verify Code Date Management with RF
              Ensure department is set to SATH                    Verify new ad pricing change over.              handheld. Review freshness checks and
                         stripping.                                                                                          rotation calendar.

            Verify that EAS soaker pads are being              Ensure all staffing needs are met. Review
                             used.                               15-Minute rating for next two weeks.
                                                                                                                               Open Topic

             Review and discuss Store Manager
                                                              Walk cutting standards. Discuss trimming,
              Exception Report (SMER). Identify
                                                                 packaging, scraping, and labeling.
                                                                                                                               Open Topic
                       opportunities.

                                                                                    FRESH
          Walk service case for clean glass, chrome,                                                                  Review and discuss backroom 5S
                                                                 Review applicable temperature logs.
                        and signage.                                                                                           conditions.

            Walk multi-deck, bunkers, and service              Verify cooler and freezer donations have
                                                                                                                  Review daily shrink tracking, known loss,
            case for dirty vents, dried blood, dirty              been collected and are clean and
                                                                                                                  and E-40 samples. Discuss opportunities.
                   tags, and old stripping.                                    organized.

                                                              Verify that service case is set to standard,        Verify that there is no discolored, bloody,
                     Review and discuss
                                                               conditioned hourly, and seafood case is             outdated, or poor quality product in the
                  "Markdown Effectiveness".
                                                                       misted every 30 minutes.                               markdown section.


                                                        FIRST TOUCH LIST / FOLLOW-UP ITEMS
              1                                                                                     9
              2                                                                                    10
              3                                                                                    11
              4                                                                                    12
              5                                                                                    13
              6                                                                                    14
              7                                                                                    15
              8                                                                                    16

                               Opening Manager Comments                                                                                       Department Score




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                                              DETAILED WALK - FRONT-END
         Date: ____________________                     SCO Utilization
                                                                                                  Average Wait Time
                                                                                                                                                  Average Wait
                                                         Mos t Current                                                                                time
         Dept. Lead: _______________                        Report
                                                                                                      Yes terday
                                                                                                                                                      WTD

                                                                                   FRIENDLY
                                                                    Discuss any customer comments                                 Associate Observations
           Provide Store Leader with an Uplift story.
                                                                     relevant to the department or                           (Cashier, Courtesy Clerks and SCO
                       Uplift Every Way!
                                                                              associates.                                               Attendant).


                                                                                       FULL
             Review and discuss most recent SCO                  Verify "Items per Minute" on checklane                Front-end Supervisors are actively working
                     Utilization Report.                                monitors or weekly report.                                with SCO Attendant.

                                                                Verify Front- end signage is up to date and             Review and discuss previous week Front-
           Verify that we are checking for skimmers             supplies are stocked (i.e. Money Services,
                                                                                                                          end Percent Effective and scheduling
                             daily.                              checklane signage, Flexifit and Gift Card
                                                                  end cap and lottery vending machine).                             opportunities.

          Verify checklane blockers are being used in            Review and discuss produce scanning                       Review and discuss QueVision %
               all checklanes that are not in use.                          performance.                                performance for previous day and WTD.

           Review and discuss fraud prevention best
                                                                  Verify Scan Coordinator is completing                      Verify all SCO Lanes are completely
            practices for Gift Cards, Money Transfers
                                                                              section checks.                                             operational.
                      and AML compliancy

                                                                                                                         Verify safety vests and cart straps are
              Review and discuss the 31 Day File.                  Review and discuss Sales Forecast.
                                                                                                                            being used by Courtesy Clerks.


                                                                                      FRESH
                                                                Verify checklane belts and SCO lanes/Pay
          Verify restrooms are clean and stocked with                                                                     Verify go-backs were completed and
                                                                     Station is cleaned and sanitized
                           supplies.                                                                                    surrounding area is clean and organized.
                                                                                frequently.

          Review and discuss 5S conditions of Money                Verify 5S conditions of the Cleaning                 Review and discuss 5S conditions of the
                          Services.                                              Center.                                          accounting room.

                                                                  Check windows, floors, and doors for
          Verify vending machines, CoinStar, RedBox,              cleanliness in lobby. Verify cart wipe                Communication Board is up to date with
          and others are clean and in working order.            station is stocked and garbage cans are                      all required information.
                                                                                  empty.

                                                        FIRST TOUCH LIST / FOLLOW-UP ITEMS
             1                                                                                       9
             2                                                                                      10
             3                                                                                      11
             4                                                                                      12
             5                                                                                      13
             6                                                                                      14
             7                                                                                      15
             8                                                                                      16

                               Opening Manager Comments                                                   Department Score                             Prev. Wk IPM




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                                                       DETAILED WALK - PICKUP
         Date: ____________________                      Orders                                  Wait Time                            % In-Stock
         Dept. Lead: _______________                    Yesterday                                Yesterday                            Yesterday

                                                                               FRIENDLY
          Provide Store Leader with an Uplift story.          Discuss any customer comments that are            Discuss "Huddle Topic of the Day".
                      Uplift Every Way!                      relevant to the department or associates.             Gather associate feedback.


                                                                                   FULL
          Verify associates are following the auto-
                                                              Verify that receipts are being tendered        Verify Labor Utilization screen is used to
            batching process and not manually
                                                             out immediately after a customer leaves.                  manage Daily Labor.
                       printing labels.
                                                                                                                  Verify associates are reviewing
            Utilize Metrics OOS Reports address                 Verify associates are following the
                                                                                                             substitutions and price adjustments with
                   possible picking errors.                 outlined substitution policy/Best Practice.
                                                                                                                            customers.
                                                                Verify associates are greeting and
           Verify that the Communication Board is                                                            Never scan shelf tag outside of produce.
                                                             confirming customer name on order and
            up to date including Weekly Forecast.                                                                      Always scan item.
                                                               closing the interaction by thanking.

          Verify associates are following de-stage             Verify 15-minute chart is printed and
                       Best Practice.                                     being utilized.


                                                                                  FRESH
                                                                 Verify Tender Verification is being
            Verify associates check freshness on                                                             Verify orders are being staged 45 minutes
                                                             completed (supervisor and management
                          all items.                                                                                   prior to pickup window.
                                                                              signature).
              Verify backroom cleanliness and                  Verify two-way radios w/ear piece are
          organization (e.g., no associate food, 5S,         being utilized for efficient communication
                            etc.).                                          and coaching.

                                                        FIRST TOUCH LIST / FOLLOW-UP ITEMS
             1                                                                                   9
             2                                                                                   10
             3                                                                                   11
             4                                                                                   12
             5                                                                                   13
             6                                                                                   14
             7                                                                                   15
             8                                                                                   16
                              Opening Manager Comments                                                                                   Department Score




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                                                       DETAILED WALK - FUEL
        Date: ____________________                                                             ID Gallons %                             ID Gallons %
        Dept. Lead: _______________                                                             Yesterday                                   WTD

                                                                              FRIENDLY
         Provide Store Leader with an Uplift story.        Discuss any customer comments that are                 Discuss "Huddle Topic of the Day".
                     Uplift Every Way!                    relevant to the department or associates.                  Gather associate feedback.


                                                                                   FULL
                                                           All Fueling positions operational? If not,
             Verify your tank monitor states all                                                              All card readers, security locks, dispensers
                                                          have the issues been addressed, noted on
            systems normal. Address if needed.                                                                      show no evidence of tampering?
                                                                 the Problem Log and called in?

         Walk concrete pad for cleanliness and oil         Inspect fuel dispensers, hoses, nozzles,
                                                                                                                         MIMIK being followed?
                stains. Address as needed.                cradles and island bases for cleanliness.

             Walk and discuss kiosk/outside
                                                          Verify all Vestcom pump topper signage is           Verify schedule is posted with only Class C
          merchandising and in stock. Look for
                                                                     in place and up to date.                            certified employees.
         windshield cleaner, firewood, motor oil.

           Verify all equipment (e.g., coolers, ice       All merchandise units clean, stocked and               Verify that squeegees and liquid are
        freezer, air machine, etc.) are operational.                  tagged/signed.                              available for windshield cleaning.


                                                                                  FRESH
         Verify the previous days Fuel Center Daily       The entire site, is free of trash, debris and
         Tour and Site Checklist was signed off by a       clutter including perimeter landscaping,           Trash cans empty and wiped down clean.
                          manager.                                     and around kiosk.
                                                                                                                 Verify your "Spill Response Kit" is all
           Review and discuss kiosk/storage 5S            36" safety cone placed at each dispenser
                                                                                                              together in the Kiosk, ready and available
                       conditions.                                         island.
                                                                                                                for use. See daily tour list for details.
            Are your price surveys completed,
                                                          Verify all spill buckets are clean, dry, and        Verify that all deliveries are being input for
          recorded accurately, and submitted on
                                                                          free of debris.                                        the day.
                           time?

                                                       FIRST TOUCH LIST / FOLLOW-UP ITEMS
            1                                                                                    9
            2                                                                                   10
            3                                                                                   11
            4                                                                                   12
            5                                                                                   13
            6                                                                                   14
            7                                                                                   15
            8                                                                                   16
                              Opening Manager Comments                                                                                      Department Score




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                                           DETAILED WALK - PHARMACY
        Date: ____________               Script Count                                            Script Count
                                          Yesterday
        Pharmacist on Duty: _________________________                                                WTD

                                                                                FRIENDLY
                                                                                                                     Staffing update: Current hiring needs, # of
           Ask department to share at least one                Discuss any customer comments that are
                                                                                                                       open requisitions, onboarding status,
         uplift story. What are you proud of today?           relevant to the department or associates.
                                                                                                                                   future outlook


                                                                                     FULL
                                                                                                                        Are workstations, waiting room, and
            Is there a clear line of site into the
                                                                Are pharmacy associates following the                     counseling area set to pharmacy
         pharmacy? Check to ensure displays are
                                                               dress code (all should have name tags)?                 standards (e.g., clutter-free, no food or
                     not set too close.
                                                                                                                                    drink, etc.)?

                                                                                    FRESH
                       Have the Pharmacist on duty pull up Pharmacy Reportal and focus your discussion on a different topic depending on the day of the week.

                                                                                                                      Tuesday: Clinical Queue - What was the
         Saturday/Sunday: Customer Experience -                Monday: Rx Count - How many scripts did
                                                                                                                      NER last week? How many interventions
         What was your wait time and ready rate                the pharmacy sell last week? Compared
                                                                                                                     are currently in the queue and what is the
                      last week?                                            to last year?
                                                                                                                              plan to complete them?
         Wednesday: Vaccines (both flu and every               Thursday: MedSync - How many patients
        day vaccines) - How many vaccines did you               did you enroll last week? What is your                Friday: ELMS - What was your composite
        give last week? What is your plan to meet                plan to meet or exceed the goal this                   labor score? Technician % effective?
               or exceed the goal this week?                                     week?

                                                      FIRST TOUCH LIST / FOLLOW-UP ITEMS
            1                                                                                      3
            2                                                                                      4
                             Opening Manager Comments                                                                                             Department Score




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      HOURLY CONDITIONING
        Tools: Hourly Conditioning reference sheet, cleaning supplies (as needed)
        Owner: Department Leader, Back-Up, Clerk
        Purpose: Maintain good store conditions throughout the day
        When: Every hour from 1 p.m. until 10 p.m. or last clerk goes home

                        1. Designate Associate(s)                         2. Review Guide




                      • Designated associate(s) will                    • Review the department-
                        complete Hourly                                   specific Hourly Conditioning
                        Conditioning for a specific                       Guide.
                        timeframe(s).
                                                                           Why: Prevents any Hourly
                         Why: Improve execution by                         Conditioning elements from
                         establishing expectations.                        being missed.



                        3. Listen for Chime                               4. Perform Conditioning




                     • Listen for Hourly                                • Perform Hourly
                       Conditioning chime                                 Conditioning for 5 – 10
                       between 1pm and 10pm.                              minutes.

                        Why: Ensures Hourly                                Why: Allows the department
                        Conditioning takes place at                        to maintain good store
                        regular intervals.                                 conditions throughout the
                                                                           day, improving the customer
                                                                           experience.



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      HOURLY QUICK WALK
        Tools: Store Walk Cart
        Owner: Store Management
        Purpose: Maintain good store conditions throughout the day
        When: Hourly, after finishing the Detailed Walk, until leaving

        1. Walk All Departments                  2. Observe Conditions                    2. Motivate & Inspire




      • Management will walk the               • While walking each                     • Engage all associates
        store hourly, visiting each              department, observe store                throughout the store while
        department at least once                 conditions. Address concerns             walking the department.
        per hour.                                as they appear.                          Motivate and inspire them
                                                                                          to deliver a great customer
         Why: Helps store leaders stay            Why: Improves customer                  experience.
         in-tune with the overall                 experience by maintaining
         health of the store.                     and improving store                     Why: Improves store morale
                                                  standards and conditions.               and fosters a team culture.


        4. Follow Up on Priorities                5. Communicate New Tasks




      • Follow up on priorities and            • Communicate new priorities
        projects identified during               to teams as they are
        the Detailed Walk. Coach                 discovered during the walk.
        and teach as needed.
                                                  Why: Keeps department
         Why: Allows for evaluation of            teams working on the items
         priorities identified earlier in         customers care about most.
         the day and opportunity to
         react.


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      FRESH AT 5
        Tools: Fresh at Five Reference sheet, cleaning supplies (as needed)
        Owner: Department Leader, Back-Up, Clerk
        Purpose: Freshen and replenish department in preparation of primetime shoppers
        When: Started around 3 p.m. - completed before 5 p.m.

        1. Review Fresh at 5 Guide               2. Evaluate Levels & Freshness          3. Replenish and/or Replace




      • Review the department-                 • Evaluate the levels of                 • Replenish displays, ad items,
        specific Fresh at 5 guides.              displays, ad items, and key              and key areas. Replace any
                                                 areas of the department.                 product that doesn’t meet
         Why: Prevent any Fresh at 5                                                      freshness standards.
         elements from being missed.              Why: Ensure the areas that
                                                  are most important to                   Why: Provides opportunity to
                                                  customers are evaluated.                evaluate and address entire
                                                                                          department in a streamlined
                                                                                          and efficient manner.

        4. Condition Remaining                   5. Notify Store Management




      • Condition remaining                     • Notify store management
        product that wasn’t touched               team that Fresh at 5 has
        during step 3.                            been completed. Walk them
                                                  through department.
         Why: Evening customers
         expect the same great                     Why: Keeps management
         experience as morning                     team informed on the status
         customers.                                of the store and department.




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      FRESH AT 5 FAQS
        FAQs
        Q: Isn’t Fresh at 5 the same as Hourly Conditioning?
        A: No. Hourly Conditioning is a short touch-up that takes place each hour throughout the day. Fresh at 5
           is a dedicated effort at refreshing and replenishing each department in anticipation of our primetime
           / evening customers.




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      GETTING A GOOD CLOSE
        Tools: Today’s Getting a Good Close sheet, writing utensil, cleaning supplies (as needed)
        Owner: Department Leader, Back-Up, Closing Clerk
        Purpose: Prepare dept. for a good customer experience, evaluate / prioritize work for the day
        When: Completed before leaving, between 7 p.m. – 10 p.m.


        1. Write Additional Notes                2. Retrieve Getting a Good Close        3. Work through All Areas




      • 1st shift records any                  • Retrieve today’s Getting a             • Work through the Getting a
        additional notes, tasks, or              Good Close sheet. Read                   Good Close sheet, checking
        updates for 2nd shift to                 through any communication                items off as they are
        review and address.                      left by 1st shift.                       completed.

         Why: Build a strong                      Why: Ensures any important              Why: Ensures no items are
         communication loop between               information left from 1st shift         missed.
         1st and 2nd shift. Pass on               is reviewed.
         important information.

        4. Record Notes                          5. Check Out with MGMT




      • Record any notes for 1st               • Inform closing store
        shift to review tomorrow                 management of completion.
        morning.                                 Review all items and sign at
                                                 the bottom.
         Why: Maintains strong
         communication loop, and                  Why: Keeps management
         informs 1st shift about any              team informed on the status
         important information from               of the store and department.
         previous evening.                        Strengthens accountability.


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      GETTING A GOOD CLOSE FAQS
        FAQs
        Q: What do I do when I come in the next day and Getting a Good Close wasn’t completed?
        A: If the sheet wasn’t completed or signed at all, talk to the closing clerk and store manager to
           understand what prevented Getting a Good Close from happening. Work together to remove
           obstacles. If the sheet was signed off but the work wasn’t completed properly, teach the closing
           clerk what is expected for each item on Getting a Good Close. Ensure they’ve been properly trained
           to perform those items. Discuss the situation with the store management team so that they can
           better review and coach each item during the Getting a Good Close process.




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      Store Leadership
      Development Program
      EFFECTIVE STORE WALK JOB AIDS


        8 BEHAVIORS TO IN-STOCK
                                                                                      Note: The 8 Behaviors to In-Stock
                                                                                      applies to divisions using the RF
                                                                                      Handheld units.


          When: Daily
          Purpose: To provide a simplified work cycle designed to drive sales through improved in-stock
          Who: All store associates
          Measure: Dashboard

                                                               STOCKING
                 Ensure all of the product we have in the store is on our shelves and organized in the backroom.
           1. Complete Truck                 Why: Meets Customer 1st needs by getting product to the shelf.
                                             Allows for future BOH count accuracy.
                                                  INVENTORY MANAGEMENT
                          After processing and stocking all product, now is the best time to update our
                                                Balance on Hand (BOH) counts.

           2. Residual Scan                  Why: Corrects understated BOH and catches mispicks.

           3. Damage/Reclaim                 Why: Improves BOH count quality.

           4. Lows & Holes                   Why: Ensures BOH accuracy for better order quality. Must be done daily,
                                             regardless of delivery schedule.
                                                               ORDERING
                 After verifying BOH counts, we can confidently move to finalizing an order for needed product.
           5. In-Store Order (ISO)           Why: Enables order adjustments for displays, customer requests, non-
                                             CAO items, and fresh bulk items.
           6. Daily Exceptions               Why: Captures sales and BOH issues to improve order quality. Will direct
                                             to all negative BOHs and case quantities of more than 10.

                                                           REPLENISHMENT
              The final step is to make sure all products available in the store are prepared and on the shelf for our
                                                            customers.
           7. Daytime                        Why: Meets the needs of the customers by getting product to the shelf.
              Replenishment                  Completes the8steps and prepares the store to begin the steps again the
                                             next day.
           8. Work Backstock                 Why: Maintains in-stock position, ensures proper BOH, product is
                                             properly rotated.


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      COMPLETE TRUCK
       Tools: Box Cutter, hand jack/6 wheeler, step stool, salvage cart
       Purpose: Maintains in-stock position and helps maintain proper BOH
       When: As needed (based on truck schedule) after running backstock
       Measure: Dashboard
           1. Transport to Sales Floor               2. Rotate Product                        3. Stock Shelf




       •   Transport product to primary          •       Verify product matches shelf     •    Brace the case against the
           aisle using hand jack or 6-                   tag.                                  shelf when you can.
           wheeler.                              •       Compare date of product          •    Stock using two hands.
       •   Park the pallet in front of the               received with product            •    Place freshest stock towards
           product you’ll stock 1st.                     already on shelf.                     back of shelf, placing older
                                                 •       If product on shelf is older          stock towards the front.
       Why: Product is closer to the shelf               than product received, pull      •    Place residual stock on floor
          and ready to stock.                            product from shelf.                   in front of product.

                                                 Why: Maintains Freshness                 Why: Maintains freshness
                                                      minimizes shrink.                     Replenishes product
                                                                                            Enables residual scan.


           General Stocking Tips:                        4. Return Backstock                  5. Handling Salvage

           • Stock any sleeve or SRP
             items as they are
             received
           • Utilize 2-handed
             stocking whenever
             possible
           • When stocking bottom
             shelf stock from your                   •    After scanning residual stock   •    Place any plastic in recycle
             knees to relieve back                        place cases on backstock             area and place cardboard in
                                                          cart.                                baler.
             strain
                                                     •    Return backstock carts to       •    Return any empty carts to
           • Utilize step stool to                        marked location in backroom.         assigned location.
             reach upper shelves if                  •    Handle all salvage
             necessary                                    appropriately.                  Why: Maintains 5s Environment.

                                                     Why: Maintains 5s Environment.




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         COMPLETE TRUCK FAQ’S:
           FAQ’s
           Q: What are some common tips for effective stocking?
           A:
               1. Organize the truck onto U-boats by aisle for maximum stocking efficiency.
               2. Verify that the product matches the tag - before filling the shelf.
               3. Try to keep the product in front of you. It should not be more than an arms length from you
                and the shelf. This will minimize the amount of motion and reduce the time spent walking
                back and forth.
               4. Use both hands for stocking. Grab 2 to 4 items per hand.
               5. Stock from tag to tag – left to right. Do not overfill the shelf.
               6. We are no longer stocking only full cases. Stock a case even if it won’t go completely to the
                shelf.
           Q: What should I do when I receive a new item that is not in the current shelf set?
           A: If the item does not have a tag on the shelf, scan with the RF handheld to verify its status. It
              should then be placed on the designated “New Item Cart”.
           Q: Is there a standard number of cases that should be able to be worked per hour?
           A: The current Kroger goal for night crew is 55 cases per hour. Daytime stocking is 30 - 35 cases
             per hour. Roundy’s management is studying these productivity models, discussing how they
             might apply, and will eventually be setting guidelines for your division.
           Q: What do I do with leftover product that won’t fit to the shelf?
           A: After you’ve worked it to the shelf and any other secondary locations, do a Residual or SIM scan
             on the left over product to verify Balance on Hand (BOH) and Allocations are correct.
           Q: What should I do if there is a hole on the shelf?
           A: If you find a hole on a shelf and you don’t have product to fill it, leave it as a hole until you have
             the correct product to put on the shelf. Do not face over.




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      RESIDUAL SCAN
        Tools: RF Handheld, backstock cart, step stool
        When: After product has been stocked; timing varies by department
        Purpose: Verify and correct Balance on Hand on any product that does not go completely to the shelf
        Who: Department Leader, Night Crew Leader, or Stocking Clerk
        Measure: ISP

                     1. Enter Residual Scan                                        2. Check and Update BOH
                     MAIN MENU                                                          UPC   0002472200010
                     1. Inventory Management                                            ANNR MARINARA SAUCE
                     2. Item Markdown
                     3. Remove Inventory                                                BOH       : [    5]

                             INV MGMT MENU                                              Pack      :     12
                            1. Residual Scan                                            OnOrder   :      0
                            2. Lows & Holes                                             Alloc     : [   10]
                            3. ISO Ordering                                             Min       : [    4]
                            4. Daily Exceptions
                                                                                             ENTER to Save
                            5. Display MIN Setup

                   • Select #1 Inventory                                       • Scan product UPC.
                     Management.                                               • Count ALL product.
                   • Select #1 Residual Scan.                                  • Update BOH, if needed.
                                                                               • Arrow down to update Allocation
                   Why: Mode designed for correcting                             and/or MIN (if needed).
                        BOHs and Allocations on                                • Press ENTER.
                        product that will not fit to
                        shelf.                                                 Why: Accurate BOHs reduce unneeded
                                                                                    backstock; Accurate allocation
                                                                                    will help in the replenishment
                                                                                    process.

                     3. Sort Product to Cart                                       4. Complete Process
                          UPC 0002472200010                                             UPC 0002472200010
                          Place Item with                                                 Session recap:
                          Slow Movers
                                                                                             Updated BOH on
                                                                                             8 out of 15
                                                                                             items scanned.
                          Enter to continue
                                                                                            Enter to continue

                            ENTER to Save
                                                                                        [               ]

                   • Center Store: Place product on                            • Press ESC.
                     active backstock, slow mover, fast                        • Press ENTER.
                     mover, or new item cart.                                  • Return product to the backroom.
                   • Fresh Departments: Place product
                     on backstock cart.                                        Why: Returns product to home location.
                   • If message box appears, press                                 Displays summary of your scans.
                     ENTER to clear.




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      RESIDUAL SCAN FAQs
        FAQ’s
        Q: Do I need to account for secondary locations during residual scans?
        A: Yes. The Balance on Hand (BOH) should include all locations in a store.
        Q: Why is it important to update Allocation (shelf capacity)?
        A: The allocation field will be used to calculate and flag the fast/slow movers versus active backstock.
          Correct allocations also aid in counting product, the daily pick list, and weekly fast mover list.
        Q: How are the Fast and Slow mover prompts generated?
        A: Slow movers are items not forecasted to sell down past the MIN within the next 7 days. Fast
           movers are items that sold 75% of allocation yesterday or are forecasted to sell 75% of allocation
           today.
        Q: How can the Fast/Slow mover prompts help departments that don’t require backstock separation?
        A: Fast mover prompt helps identify items that may need to be replenished throughout the day. Slow
            mover prompt helps identify items that might become short dated.
        Q: Which function keys are available in residual scan mode?
        A: The following function keys are available in residual scan mode:
            BLUE-3/F-3 Movement History         BLUE-4/F-4 MIN/Status/Allocation/Display MIN History
            BLUE-9/F-9 Additional Item Info SHIFT-1/CTRL-O Order History
            BLUE-ø/F-ø Adjustment History/Detail/Markdown History
        Q: Can I see items with an expected distribution during residual scans?
        A: Yes. Items with an expected distribution will be noted with a ^ symbol next to the OnOr field.
           CTRL-E can be used to view detail on the expected shipment(s).
        Q: What do I do if my Balance on Hand (BOH) has not updated from my new truck, but I have
           worked the product to the shelf?
        A: Manually receive the order if needed after communicating with all departments impacted.
        Q: What should I do if I receive a new item prompt?
        A: Center Store: Product should be separated and placed on a new-item cart as needed for the reset
          team if the reset hasn’t occurred.
          Fresh Depts: Product should be worked to the shelf in place of discontinued items as needed.

                              Department                                            Timing of Residual Scan
        Dry Grocery, Natural Foods, Frozen Foods,                         Count left over product from truck
        Drug/GM, Frozen Meat/Seafood, Packaged Meat
        and Deli (ie: Potato Salad, PS Packaged Deli
        Meats & Cheese)
        Dairy (excluding Milk & Eggs),                                    Count all product on delivery days before the
        Produce Bagged Salads and                                         truck is worked (when inventory is at its lowest
        Large Quantity Commodities (Deli and Meat)                        point)
        Commercial Bakery, Bakery CAO, Meat Random                        Count all product once a week
        Weight CAO, Grinds, Dry Produce, Milk and Eggs
        Slow Moving Carts in Dry Grocery, Natural                         Count all product once a week
        Foods, Frozen and Drug/GM



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        DAMAGE/RECLAIM
          Tools: RF Handheld, banana boxes (if needed), damaged bins, dumpster
          When: Daily to ensure this has been completed before beginning Lows & Holes walk
          Purpose: Daily activity to remove product from store/department inventory ensuring accurate
                   Balance on Hand (BOH) to produce quality orders
          Who: Department lead, back-up, or clerk
          Measure: CAO Plus
                      1. Enter Remove Inventory                           2. Choose Reason Code

                                                                                Reason Codes
                                                                                1. Theft
                         MAIN MENU                                              2. Damage/Reclaim
                         1. Inventory Management                                3. Donation
                         2. Item Markdown                                       4. Outdated
                         3. Remove Inventory                                    5. Item Recall

                                                                               Selection:[ ]




                    • Select #3 Remove Inventory.                       • Select the correct Reason Code:
                                                                           o Theft: Items where the evidence suggests
                                                                              that the item has been stolen (e.g. empty
                                                                              package).
                                                                           o Damage/Reclaim: Product that is being sent
                                                                              to a reclamation center. Items not eligible for
                                                                              reclaim will be identified in the handheld.
                                                                           o Donation: Product given to charity.
                                                                           o Outdated: Outdated product and donations.
                                                                           o Item Recall: Product that is being removed
                                                                              from the shelf due to an item recall.



                      3. Scan Product                                     4. Dispose of Product

                            Remove Inventory



                           F2=QTY F3=Chg. Code
                            F12=Reclaim Label
                           Scan Next Item:
                           [                  ]



                    • Scan the UPC.                                       • Press ESC.
                    • Use BLUE-2/F-2 to update the                        • Select #1 Process Items.
                      quantity if necessary.                              • Throw out product, package it for
                    • Scan additional product until                         return, or hand-off to the receiver
                      complete.                                             for shipment as appropriate.




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      DAMAGE/RECLAIM FAQS
        FAQS
        Q: Can I “Remove from Inventory” at any time?
        A: Yes. Although it falls after Residual scans in the 8 Behaviors, removing product can be done at any
           time to help maintain Balances on Hand (BOH).
        Q: How do I remove random weight product?
        A: Random weight product can be removed by entering in the PLU or scanning the random weight UPC
        and pressing enter. The approximate number of items can be entered using BLUE-2/F-2.
        Q: What do I do with the product when I am finished scanning it out?
        A: Product that is non-sellable and damaged beyond any use can be thrown away unless the product is
           a DSD item. Donations will go to the designated organization. If you have any doubts about the
           removal of a product, see your store manager or give the product to the receiver.
        Q: What do the beeps signify when I am removing items from inventory?
        A: Three beeps signify that the product is SWELL, which indicates the vendor pays a percentage of all
           orders to cover damages, out of dates, etc. Credit is not given through the reclaim center since it is
           collected upfront. Product should be marked down and sold.

            **Zero beeps signify the product is billable which indicates the vendor will be charged once items
            are scanned through the reclaim center which gives the stores inventory credit.




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        LOWS & HOLES AND CTRL-V
        Tools: RF Handheld, Sorry for the Inconvenience/ Customer 1st tags, step stool (if needed)
        When: Daily. After truck, residual scan, and damage/reclaim and go-backs checked, and backstock
        Purpose: Correct Balance on Hand (BOH) to improve orders
        Who: Department Leader, Back-up, or Clerk
        Measure: Dashboard

        1. Enter Lows & Holes                       2. Look for Lows & Holes               3. Low & Hole Process
         MAIN MENU
         1. Inventory Management
         2. Item Markdown
         3. Remove Inventory
                                                         LOW
                 INV MGMT MENU
                1. Residual Scan
                2. Lows & Holes
                3. ISO Ordering
                4. Daily Exceptions
                5. Display MIN Setup                                 HOLE
       • Select #1 Inventory                   • Low is defined as facings not filled   • Walk entire department.
         Management.                             2- deep.                               • Scan Lows & Holes.
       • Select #2 Lows & Holes.               • Hole is defined as an Out-of-stock     • Press CTRL-V to flag items that
                                                 without a “Sorry for the                 need to be filled.
       Why: Mode designed for updating           Inconvenience” tag.                    • Press ENTER to save.
          BOH for Lows & Holes.                • Scan the shelf tag.                    • Apply “Sorry for the
                                                                                          Inconvenience” tag if prompted.
                                               Why: Locate errors that lead to holes.
                                                                                        Why: Apply “Sorry for the
                                                                                          Inconvenience” tags and create a
                                                                                          work list.
        4. Print CTRL-V                             5a. Lows & Holes Verification          5b. Lows & Holes Verification
          Session recap:

          Updated BOH on
          12 out of 23
          items scanned.

        Print Verification
        Report (Y/N)?

       • Press ESC when complete.               • Utilize report to locate product and take action (by department manager).
       • If items were flagged, press Y or      • If product is found, work to shelf and mark “F” on report (F=Filled).
         N to print the Verification            • If product is not found, mark “NF” on report (NF=Not Found).
         Report.                                • If BOH update is needed and change is made mark “C” on report
                                                  (C=Change).
       Why: Allows for the printing of the      • Completed reports must be kept for 7 days on a clipboard by applicable
         Verification List directly from the      department’s communication center for Grocery, Dairy (non-fluid), Frozen
         handheld; displays summary of            and Drug/GM.
         your scans.
                                                Why: Replenish the primary shelf location with product located in other
                                                 locations in the store and backroom.


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       LOWS & HOLES AND CTRL-V FAQS
         FAQs
          Q: How should the “Last Received” and “Last Sold”                       UPC 0003800040260          Recent Shippers
                                                                                  KELL EGGO HMSTYL
             information be used?                                                 WFL 10CT      PAK 12        Date         Qty
                                                                                  BOH            [ 42]        02/14
          A: This can help you determine how long you have had                                                01/24
                                                                                                                            48
                                                                                                                           12
             a low or a hole to give you more confidence when                     Reason [Data Integ]
                                                                                  On Order           5^      ENTER to Cont
             making a Balance on Hand (BOH) change.                               Open Order     [   0]
                                                                                  Alloc          [ 20]
          A: If a shipper was received within the last 45 days, a                 MIN            [ 12]
                                                                                                            EXP DIST DETAIL
                                                                                                             EXP DELV      UNITS
             “SH” code will appear next to the “Last Rec’d” field.                Last Rec'd 02/14 SH        02/21/2017* 24 DB
             BLUE-5/F-5 can be used to see the shipper history.                   Last Sold    MV1    7
                                                                                                               ESC = BACK
                                                                                 ENTER OR F2=Rsn F5=SH
          A: Expected distributions will also be noted with a ^ symbol
             next to OnOr field and CTRL-E can be used to view detail on expected shipments.
          Q: Can I see additional history screens in the Lows and Holes mode?
          A: Yes. By using the function keys, you can see Mvt History (BLUE-3/F-3), MIN History (BLUE-4/F-4),
              Order Detail (BLUE-6/F-6), Additional Item Info (BLUE-9/F-9), Adjustment History (BLUE-Ø/F-Ø),
              and Order History (CTRL-O/SHIFT-1). NOTE: F-3 will default to cases for some fresh departments.
          Q: Can I change the reason code when I make a BOH change?
          A: Yes. By using BLUE-2/F-2, you can change the reason code from Data Integrity to Theft (if needed).
          Q: Can I flag items to follow-up on that may be in another location in the store?
          A: Yes. During Lows & Holes, you can press CTRL-V to send items to a Lows & Holes Verification report
               that can be printed for later review. This will serve as a pick list to pull items from displays , shippers or
               backroom to the primary shelf location.
          Q: After I have placed a “Sorry for the Inconvenience” tag, what if the product becomes discontinued or the
             next delivery is a mispick? How will I know?
          A: At the beginning of every period, management should scan all existing tags to ensure they are still
            valid and take action as needed.
          Q: Can I scan products that aren’t a low on the shelf if I know I will sell through what I have?
          A: Yes. General guidelines are provided to help identify what to scan, but additional product may be
            scanned if needed (e.g. high selling items with limited shelf space)
          Q: Can I change Open Order and Allocation in this mode?
          A: Yes, Allocation and Open Order can be changed by using the arrow keys. Open Order should only be
             adjusted in Lows & Holes for product CAO isn’t anticipating needing (e.g. bagged salad markdowns).

         Center Store
         If you are struggling to complete Lows & Holes daily, create an action plan:
        • Choose a few aisles or commodities and make sure all processes of the inventory life cycle are
            completed (backstock, truck, residual with separation of slow, active, fast movers) and complete
            Lows & Holes in these aisles.
        • Each day add one additional aisle or commodity.
        • Focus on creating daily routines for sections of the store that are ordered daily.




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      IN-STORE ORDERING (ISO)
        Tools: RF Handheld and order guide
        When: Before Daily Exceptions for CAO active product.
        Purpose: Method for ordering non-CAO items, displays, and customer requests.
        Who: Department Leader or Back-up
        Measure: ISP

        1. Enter ISO Mode                          2. Order Product                         3. Upload List
         MAIN MENU                                                                      +-------------+
         1. Inventory Management                                                        | Selections |
         2. Item Markdown                                                               |1. Process   |
         3. Remove Inventory                                                            |   Items     |
                                                                                        |2. Delete    |
                 INV MGMT MENU                                                          |   Last Item |
                1. Residual Scan                                                        |3. Delete    |
                2. Lows & Holes                                                         |   All Items |
                3. ISO Ordering                                                         |             |
                4. Daily Exceptions                                                     |Selection:[ ]|
                5. Display MIN Setup                                                    +-------------+

      • Select #1 Inventory                      • Scan or enter UPC.                   • Press ESC.
        Management.                              • Press BLUE-2/F-2 if you need to      • Select #1 Process Items.
      • Select #3 ISO Ordering.                    order more than one case             • Press ENTER.
                                                   (default is 1 case).                 • Confirm upload successful (use
      Why: To create a list of UPCs that                o Type in quantity.               In-Store Processor (ISP) if
           you want to order for non-                   o Press ENTER.                    there is an error message).
           CAO products, displays, and           • Repeat for additional product.       • Press any key.
           customer requests.                                                           Why: Automatically uploads the
                                                 Why: Scanning a UPC will                    list to the next scheduled
                                                      automatically add 1 case to            order.
                                                      the order unless the case
                                                      quantity is adjusted higher;
                                                      Fastest method for ordering
                                                      large quantities.




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      IN-STORE ORDERING (ISO) FAQS
        FAQS
        Q: Can I use In-Store Order (ISO) several days in advance of an order?
        A: Orders do not have to be open for you to use an In-Store Order (ISO) session. The session will
           automatically attach to the next order.
           EXAMPLE: If you have an order that polls on Tuesday and one that polls on Thursday, you
                    cannot place Thursday’s order on a Monday.
        Q: What if I get an error message?
        A: If the order is in “locked” status, you may receive an error message stating you need to upload the
           In-Store Order (ISO) session from the In-Store Processor (ISP). In this situation, you can manually
           attach the In-Store Order (ISO) session to the order on the In-Store Processor (ISP). This should not
           occur frequently.

        Q: What if my handheld times out while I am working on my In-Store Order (ISO) upload?
        A: When you go back into In-Store Order (ISO) upload, you will see the        Your Session That
                                                                                      Was Terminated Has
           message screen shown below. If you select 1- Process Now, the session      Been Found
           that timed out will upload with the exception of the last UPC you
                                                                                      User: jk99999
           scanned and you can continue your order from the last UPC you              Date: 05_09_2017
           scanned.                                                                   Time: 12:29:02

                                                                                             1 - Process Now
                                                                                             2 - Delete Now
                                                                                             3 - Decide Later

                                                                                             Enter Option:



        Q: What happens if I scan a product that I do not want by mistake?                   +-------------+
                                                                                             | Selections |
        A: You can delete the last item scanned by pressing ESC and                          |1. Process   |
           selecting option #2 Delete Last Item.                                             |   Items     |
                                                                                             |2. Delete    |
                                                                                             |   Last Item |
                                                                                             |3. Delete    |
                                                                                             |   All Items |
                                                                                             |             |
                                                                                             |Selection:[ ]|
                                                                                             +-------------+


        Q: What should I do if I try to upload an In-Store Order (ISO) and there is not an order to attach to?
        A: This can occur if you are trying to place an order for a catalog that polls infrequently. Order schedules
           are loaded into CAO every Wednesday. If the schedules are not loaded for the catalog you are trying
           to order, you will need to wait to upload your In-Store Order (ISO) session until the catalog schedule is
           loaded into CAO.




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      DAILY EXCEPTIONS
        Tools: RF Handheld, step stool (if needed)
        When: Daily. After In-Store Order (ISO) and before poll time (if needed)
        Purpose: Reviewing UPCs which may require order adjustments or have negative Balances on Hand
        Who: Department Leader, Back-up, or Associate assisting with the order
        Measure: ISP

                    1. Open Daily Exceptions                              2. Locate Item
                     MAIN MENU

                     1.   Inventory Management
                     2.   Item Markdown
                     3.   Remove Inventory
                          IINV MGMT MENU
                          1. Residual Scan
                          2. Lows & Holes
                          3. ISO Ordering
                          4. Daily Exceptions
                          5. Display MIN Setup

                     • Select #1 Inventory                              • Use aisle, price, and UPC to
                       Management.                                        locate item.
                     • Select #4 Daily Exceptions.                      • Verify product on shelf
                     • Select Department.                                 matches shelf tag.
                     Why: Generates list to review for                  Why: This information helps
                          the department.                                    locate items quickly.

                       3. Check & Update BOH                              4. Review Order Details




                     • Count product.                                   NOTE: Will not display for Negatives &
                     • Update BOH, if needed.                           Recent Negatives.
                     • Press CTRL-O/SHIFT-1 to view                     • Compare projected sales to actual sales.
                       order history, if needed.                        • Consider recent sales impacts:
                     • Press ENTER.                                         • Press BLUE-3/F-3 to view recent
                                                                               sales
                     Why: Accurate BOH improves
                                                                            • Press ESC
                          order quantity.
                                                                        • Choose option number that is closer to
                                                                          future sales. Finalize quantity if needed
                                                                           and repeat for additional exceptions.




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         DAILY EXCEPTIONS FAQS
         FTS
         Q: How many exceptions will I have each day?
         A: The number of exceptions will vary by department, store, and day of the week.
         Q: Is there a certain time of the day when I should work exceptions?
         A: Most orders will now open at 3am. On days when you have an order, exceptions should be worked
            before the poll time.
         Q: Do I have the ability to skip an exception if another person within my department is responsible
            for ordering certain products?
         A: Yes. During step 2, you can use BLUE-6/F-6 to skip an exception and come back to it later.
         Q: When should I select “Option 2” (USE MOVEMENT) and change my order?
         A: If there is a recent sale, weather event, or another local event that is impacting sales positively or
            negatively and you expect it to continue, select Option 2 to better meet our customers’ needs.
         Q: Can I adjust the order quantity after I chose “Option 2” (USE MOVEMENT)?
         A: Yes. Once you chose Option 2 (Use
            Movement), a pop-up box will appear,
            showing the change in the Open Order
            quantity. To Accept the change, choose
            option 1. To Edit the quantity, choose
            Option 2 and input the new
            OpOr quantity. Press ENTER to continue.
         Q: When should I select “Option 3” (NOT IN SET)?
         A: If the item cannot be found or was a one-time customer request.



         Order Adjustments Needed Outside Daily Exceptions
         Additional order adjustments may be needed outside of daily exceptions. ISO, Item Info, Lows &
         Holes, and the ISP can be used to make these adjustments.
         • Display items, 3-Day/4-Day sale items, Major Holiday events and Weather
         • Mega event items or other complex offers and some WIC/SNAP items
         • Regional events, customer requests, etc.
         • Specific Department Items:
                 o Dairy: orders for milk should still be monitored closely and adjusted as needed in Item Info
                 o Bread: due to perishable nature of product, orders should still be monitored closely and
                   adjusted as needed in Item Info
                 o Drug/GM: cigarettes and infant formula
                 o Produce: close dated product, markdown product
                 o Deli/Bakery: close dated product, thaw-n-sell products, and markdown product
                 o Meat & Seafood: random weight CAO meat, close dated product, and markdown product



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      DAILY EXCEPTIONS REASON CODES
        There are different types of exceptions which are listed below. The screens displayed change based on
        the exception type.
        1. Negative Balance on Hand/             3. Excess Product                                  5. Expected Distribution
           Recent Negative Balance on
                                                2 screens for each item                             1 screen for each item
           Hand                                                                                     • Alerts the associate to
                                                • CAO is ordering item.
        1 screen for each item                                                                         items with an open order
                                                • Recent movement is significantly lower
        • Gives associate an opportunity to                                                            that also have an expected
                                                  than forecast is projecting in the future.
          correct any items with a negative                                                            distribution date ranging
                                                • Gives associate an opportunity to
          BOH.                                                                                         from 3 days prior to the
                                                  decrease the order.
        • Accurate BOH improves order                                                                  current date through 7
          quality.                               BLSKY FR RNG LG BRN                                   days in the future.
        • A Recent Negative is any item           EGGS       PAK 15
                                                                                                    • This provides RF handheld
                                                             1 /4.19
          which has a positive BOH when          (1 of 1)                                              visibility to items with an
          reviewed, but was negative at          Ail 100 Middle Left                                   open order that also have
          3am. These should still be              UPC 0071537311330
                                                                           Excess Product              an expected distribution,
          reviewed.                                 Possible OOS
                                                                                                       providing the ability to
        • Most negatives only display the                                BOH(EA)               10      adjust the Open order
          first screen unless multiple           CHECK BOH & UPDATE      ON ORDER(CS)           1      quantity, as needed.
          exceptions apply. Item can be a              BOH [ 10]         OPEN ORDER(CS)         1   • The expected delivery of
          negative and one of the other                                                                the distribution is the first
                                                    On Order 1 cs        PROJ 2DAY SALES       15
          reason codes (2 screens).                ENTER OR SKIP=F6      2DAY MOVEMENT          0      delivery following the
          HRML SHRD CKN TACO
                                                                         PAK                   15      expected delivery date
          MEAT                                                                                      • Distribution Detail is in
                                                                        CHOOSE OPTION, F3=MVMT
                     1 /7.99
                                                                        1 = NO CHANGE
                                                                                                       units, DB indicates a case
          (4 of 10)
                                                                        2 = USE MOVEMENT               distribution, SH indicates
          Ail 101 Middle Left
           UPC 0003760044314
                                                                        3 = NOT IN SET                 a shipper distribution

                Negative BOH
                                                4. Large Order Quantity
                                                                                                       KRO CRISPY RICE
             CHECK BOH & UPDATE
                 BOH [ -1]                     1 screen for each item                                               PAK 14
                                               • Associate is not expected to physically go                        1 /1.99
                                                                                                      (1 of 11)
          On Order     8 pcs                     to shelf location and cannot change BOH.              UPC 0001111085121
          ENTER OR SKIP=F6                     • Gives associate an opportunity to validate             Exp Distribution
                 PRSL SUGARHOUSE MPL             order quantities which are greater than 10
                 BREAD                           cases.                                                 On Order
                                                                                                      Open Order [
                                                                                                                        0 cs
                                                                                                                        1]cs
                            1 /3.19
                 (1 of 1)
                                               • Random weight is not included.
                 Ail 019 Middle Left           • If the Open Order quantity is increased, a           ENTER=SAVE F6=SKIP
                  UPC 0001111086366              prompt will ask the associate to confirm               CTRL E=EXP DIST

                 Recent Negative BOH
                                                 the new quantity.
                                               KRO NAIL POLISH     +----------------------+
                 CHECK BOH & UPDATE            REMOVER     PAK 1                                      KRO CRISPY RICE
                                                                   |                      |
                                                          10/10.00 | Open Order has                                       PAK 14
                                                                                          |
                       BOH [   2]              (1 of 2)                                                                  1 /1.99
                                                                   | Increased.           |
                 On Order     0 pcs             UPC 0004126037795                                     EXP DIST DETAIL
                                                                   |                      |
                 ENTER OR SKIP=F6                                                      12 |
                                                                   | OLD Open Order:
                                                  Large Order Qty                                     EXP DELV      UNITS
                                                                   |                      |
                                                                                                      03/14/2017     42 DB
        2. Possible Out of Stock (OOS)                             | NEW Open Order:   20 |
                                                     BOH      7    |                      |
       2 screens for each item                   On Order
                                                                   | UPDATE IF REQD
                                                              0 cs | F5
                                                                                          |
                                                                           TO CONFIRM     |
       • Recent movement is significantly      4 Day Mvmt    11    +----------------------+
         higher than forecast is projecting    Open Order [ 12]cs                                        ESC = BACK
         in the future.
                                                  ENTER OR F6=SKIP
       • Gives associate an opportunity to
         increase the order.

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      ITEM INFO AND EXPECTED DISTRIBUTION DETAIL
        Tools: RF Handheld
        When: As needed
        Purpose: Reviewing UPCs to understand distribution details
        Who: Department Leader, Back-up, or Associate assisting with the order


        1. Open Item Info                          2. Open Expected                      3. Review
            ITEM[              ]
                                                   Distribution Detail
            UPC 0002900007325 B
            MSI 6964472 PLNTR                          ITEM[             ]                   ITEM[             ]
            DRY ROASTED                                UPC 0002900007325 B                   UPC 0002900007325 B
            PEANUTS     PAK   12                       MSI 6964472 EXP                       MSI 6964472 EXP
            BOH   28     1 /3.99                       DIST DETAIL                           DIST DETAIL
            Min     8 OpOr     0
                                                       EXP DELV        UNITS                 EXP DELV       UNITS
            Alo   30                                   03/10/2017       48 SH                03/10/2017      48 SH
                      OnOr     0^
            CAOst A Mv1       5
            Loc      Mv7     28
            Al L 16B Mv28    45
            UPDATE: F2 or FUNC 2
            Item 1 of 2                                       ESC = BACK                          ESC = BACK



        • Select #8 Item Info.                     • Press CTRL-E.                       • Review Distribution Details.
        • Scan UPC.                                                                      • Press ESC.
        • Determine if this symbol                                                       • Change OpOr quantity (if
          “^” is present after OnOr                                                        needed).
          quantity.
                                                   Why: Brings up the schedule of        Why: Closes the Expected
        Why: Indicates that a                           Expected Distribution(s).             Distribution Screen.
              distribution is expected.



        Distribution Detail


                                            Expected Distribution Detail
              ITEM[             ]
              UPC 0002900007325 B
                                            • Displays units that can not be changed.
              MSI 6964472 EXP               • Displays items with an expected distribution date from 3
              DIST DETAIL                     days prior to current date through 21 days in the future.
                                            • SH indicates a shipper distribution.
              EXP DELV     UNITS
              03/10/2017    48 SH
                                            • DB indicates a case distribution.
                                            • The distribution should be delivered on the delivery
                                              following the expected delivery date.
                                            • Distribution Detail can also be accessed from the new Daily
                  ESC = BACK
                                              Exception type – Expected Distribution, as well as Residual
                                              Scan and Lows & Holes modes.




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          CENTER STORE REPLENISHMENT/BACKSTOCK
              Tools: Grocery Pass the Baton sheet, Fast Mover/Display Cart, Daily Automated Pick List, Control V List
              When: Daily, prior to, and during peak sales periods
              Purpose: Maintain in-stock position on key products during peak sales periods
              Who: Grocery, Natural Foods, Drug/GM

              1. Grocery Pass the Baton                 2. Work Fast Movers/Bulk                        3. Replenish from Ctrl-V List




          •     Check in with the ASM.              •   Fast Mover Carts: Work all of the       •       If the Lows & Holes Verification has
          •     Review Pass the Baton.                  products on the Fast Mover Cart.                not been completed by the
                                                    •   Fill bulk items for ex: water,                  department manager, work the
          Why: The Pass the Baton sheet                 bread, cereal.                                  items remaining on the list. See
               ensures all key tasks are                                                                Lows & Holes Job Aid for more
               completed and helps aid in           Why: Fast movers and bulk items                     details.
               communication between                     are the number one priority            •       If product is found, work to shelf
               shifts.                                   during replenishment.                          and mark “F” on report (F=filled).
                                                                                                •       If product is not found, mark “NF”
                                                                                                        on report (NF=not filled).

                                                                                                Why: Replenishing out of stocks from the
                                                                                                   Ctrl-V list.

              4. Replenishment Scan                         5. Touchbase/Backstock                      6. Manage Backstock

               OOS Scan Type
               1. "Never Be Out" Scan
               2. DSD Out-of-Stocks
               3. Division OOS Audit

               8. Replenishment Scan

                Selection: [ ]

               Select OOS Scan Type

      •        Only scan ad/sale and Mega tags.         •    Touchbase with ASM. Begin              •    Place all remaining backstock on
      •        Print report.                                 working grocery backstock.                  the cart by commodity.
      •        Find and locate the items on the         •    Locate backstock cart for your         •    Return backstock to its marked
               report to build a cart.                       department and/or aisle.                    location. If it is after 9 PM, leave,
      •        Work items on the report (prioritized    •    Pull cart to sales floor                    backstock cart at the end of the
               by highest BOH quantity).                     location.                                   aisle.
      •        If product is found, work to shelf and   •    Work product. See Stock job            •    Handle all salvage appropriately.
               mark “F” on report (F=filled).                aid for stocking best practices.       •    Communicate with ASM on what
      •        If product is not found, mark “NF” on                                                     backstock has been completed.
               report (NF=not filled).                  Why: Product is closer to shelf
                                                            and ready to stock;                     Why: Ensure the ASM can complete a
      Why: Ensures other previously                         Maintains freshness and                   Good Close for the night crew.
        replenished areas are still in-stock and            BOH.
        identifies remaining potential OOS
        items.

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      CENTER STORE REPLENISHMENT/BACKSTOCK: FAQS
        FAQS
        Q: What are the bulk items in my department?
        A: In the grocery department, the bulk items are: Water, Bread, Cold Cereal, Cookies/Crackers, Paper
           Products.
        Q: What product is located on Fast Mover carts?
        A: Fast Mover carts should contain: (1) items that are flagged as fast movers during the residual scan
           process, (2) ad items and promotional items on display, and (3) items on the Weekly Fast Mover list*
           (as appropriate for your store). Both the residual flags and Weekly Fast Mover list are partially based
           on forecasts for items in your store. Due to varying product shelf allocations, your store may only
           need to include certain items off the Fast Mover List on your fast mover carts.
        Q: What are the recommended times for scheduling replenishment/backstock?
        A: Replenishment should be completed from 11am – 4pm and backstock should be completed from
           4pm – 11pm. The actual schedule may vary depending on the store’s needs.
        Q: Does active (daily) backstock need to be worked prior to truck being stocked?
        A: Yes. Working active (daily) backstock helps ensure BOHs are correct, product is properly rotated, and
           like product is grouped together in the backroom.
        Q: Do we have to rotate everything?
        A: The Labor & Expense and Freshness & Standards groups have worked together to update the current
           stocking and Backstock standards for Paper Products, Laundry, and Cleaning commodities. Product
           Rotation time has been updated as non-perishable products without an expiration date no longer
           require rotation at the shelf.
        Q: Do I scan every hole in the department?
        A: No, you should only scan Mega tags and ad/sale items.




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       WORKING ACTIVE (DAILY) BACKSTOCK
          Tools: Product, U-boat, cart, pallet, step stool (if needed), box cutter, display plans
          Purpose: Maintains in-stock position, ensures proper BOH, product is properly rotated
          When: Daily - before working the truck
          Who: Replenishment Clerk, Department Lead, or Assistant Department Lead
          Measure: Dashboard


          1. Get Backstock Cart                      2. Work Product                        3. Manage Backstock




      •    Enter the backroom and                •     Verify product matches shelf     •   Place all remaining backstock
           identify the backstock                      tag.                                 on the cart by commodity.
           wheelers. Locate backstock            •     Properly rotate product          •   Ensure each cart is signed.
           cart for your department                    based on expiration dates.       •   Return backstock to marked
           and/or aisle.                         •     Stock shelf first, then stock        location.
      •    Pull cart to sales floor location.          secondary locations.             •   Handle all salvage
                                                 •     See stocking job aid for             appropriately.
      Why: Product is closer to shelf and
                                                       stocking best practices.
          ready to stock; Maintains                                                     Why: Maintains 5S environment.
          freshness and BOH.                     Why: Maintains freshness;
                                                     Customers buy from the
                                                     shelf first; Assists in getting
                                                     an accurate BOH count.




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      WORKING ACTIVE (DAILY) BACKSTOCK FAQS
        FAQs
        Q: Does active (daily) backstock need to be worked prior to truck being stocked?
        A: Yes. Working active (daily) backstock helps ensure BOHs are correct, product is properly rotated, and
           like product is grouped together in the backroom.
        Q: Can we just have the night crew work backstock after they work the Truck?
        A: Working backstock prior to the truck helps ensure product is properly rotated. If product is worked
           after the truck is thrown, the rotation will be out of sync.
        Q: Do we have to rotate everything?
        A: Yes, this helps ensure the oldest product is first bought by the customer. It also helps ensure the
           customer has the longest shelf life possible after they purchase it.


        Q: What do I need to do with opportunity items?
        A: Develop exit strategy for opportunity items:
           • In-store price reduction
           • Keep product on sale
           • Create selling event
           • Cross merchandising and tie-ins with other departments
           • E40 transfer to another store
           • Conduct proper item return
           • For DSD items, work with merchandising team to have vendor pick up items




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      WORKED/NOT WORKED ACTIVE (DAILY) BACKSTOCK
      CART SIGNAGE
          Tools: Product, backstock cart, Worked/Not-Worked sign, dry erase marker
          Purpose: To keep the correct product on the cart and have it worked daily to keep in stock
          When: Daily – In the evenings after Replenishment
          Who: Department Lead, Assistant Department Lead, Backstock Clerk, Replenishment Clerk

          1. Setting up a Active Backstock
                                                           2. Organize your Backstock Cart                3. Manage Backstock
          Cart




      •    Assign backstock cart for your              •    Scan all product in Residual              •   Organize active backstock on
           department and/or aisle.                         Scan mode (do once to                         correct aisle cart.
      •    Put active backstock template                    organize your cart).                      •   Ensure each cart is signed.
           inside of the lower sleeve of               •    Verify product is active                  •   Return backstock to marked
           your backer board.                               backstock only.                               location.
                                                       •    See Residual Scan Job Aid for             •   Handle all salvage
      Why: This will help organize your                     more info.                                    appropriately.
          cart with the correct product.
                                                       Why: This will help keep your                  Why: Maintains 5S environment.
                                                           backroom organized and this
                                                           prioritizes work.


                            4. Sign Off Complete                                        5. Validate




                        •    Flip sign to “Worked” side.                            •   Validate backstock carts were worked
                        •    Associate writes initials and date                         before starting lows/holes walk.
                             in the assigned boxes.                                 •   Prioritize any not worked backstock
                                                                                        that was not completed.
                        Why: Gives visibility to department                         •   When all backstock has been
                              leader and management the                                 completed and the store detailed
                              last time backstock was                                   walk has been done to check
                              worked.                                                   compliance, department leader flips
                                                                                        card to “Not Worked” side to start the
                                                                                        daily routine again.

                                                                                    Why: Ensures all product is out of the
      v. 9.11.19                                                                         backroom.

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        WORKED/NOT WORKED ACTIVE (DAILY) BACKSTOCK
        CART SIGNAGE FAQS
        FAQs
        Q: Does active (daily) backstock need to be worked prior to truck being stocked?
        A: Yes. Working active (daily) backstock keeps you in stock on items that are selling on a regular bases.
           It also helps ensure BOHs are correct, product is properly rotated, and like product is grouped
           together in the backroom. Backstock should be worked in the evening after replenishment by the
           backstock/replenishment clerks.
        Q: Do we have to rotate everything?
        A: Yes, this helps ensure the oldest product is first bought by the customer. It also helps ensure the
           customer has the longest shelf life possible after they purchase it.
        Q: What do the colors on the “Not Worked” side represent?
        A: Red: Active Backstock has not been work before the truck.
           Green: Active Backstock has been worked daily, dated with the date completed, and initials of who
           worked the backstock cart.




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       WORKING SLOW MOVING BACKSTOCK
           Tools: Product, U-Boat, cart, pallet, RF Handheld, step stool (if needed), box cutter, display plans
           Purpose: Maintains in-stock position and ensures proper BOH, helps offer freshest products
           When: Weekly – on the night designed by your store prior to Lows & Holes for the day
           Who: Department Lead, Assistant Department Lead, Clerk (Night)
           Measure: Dashboard

           1. Get Backstock Cart                        2. Work Product                             3. Residual Stock




       •    Enter the backroom and                  •    Verify product matches shelf           •    Place all remaining backstock
            identify the backstock wheelers              tag.                                        on the floor in front of the
            Pull cart to sales floor location.      •    Properly rotate product based               product locations for now.
                                                         on expiration dates.                   •    Repeat this process for all
       Why: Product is closer to shelf and          •    Stock shelf first, then stock               backstock items.
           ready to stock; Maintains                     secondary locations.                   •    Repeat steps 1-3 until aisle is
           Freshness and BOH.                       •    See stocking job aid for                    complete.
                                                         stocking best practices.
                                                                                                Why: Assists in getting an
                                                    Why: Maintains freshness;                       accurate BOH count;
                                                        Customers buy from the shelf                Enables residual scan.
                                                        first; Assists in getting an
                                                        accurate BOH count.

                                  4. Conduct Residual Scan                          5. Return Backstock




                              •   Follow the appropriate                        •    Pick up backstock starting at the
                                  steps for conducting a                             front of aisle and continuing
                                  residual scan (see residual                        until all backstock is loaded on
                                  scan job aid).                                     cart or pallet by backstock type
                              •   Segregate backstock by                             (slow, active, fast).
                                  type fast mover, active or                    •    Return backstock to marked
                                  slow.                                              location & update when
                                                                                     backstock was worked:




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      WORKING SLOW MOVING (WEEKLY) BACKSTOCK
      FAQS
        FAQs
        Q: Does backstock need to be worked prior to truck being stocked?
        A: Yes. Working backstock helps ensure BOHs are correct, product is properly rotated and like product is
           grouped together in the backroom.
        Q: Can we just have the night crew work backstock after they work the Truck?
        A: Working backstock prior to the truck helps ensure product is properly rotated. If product is worked
           after the truck is thrown, the rotation will be out of sync.
        Q: Do we have to rotate everything?
        A: Yes, this helps ensure the oldest product is first bought by the customer. It also helps ensure the
           customer has the longest shelf life possible after they purchase it.
        Q: Can we just spot product on the floor rather than stock from the dolly?
        A: Spotting product requires a minimum of two ‘touches’ of the product which is less efficient than a
           single ‘touch.’
        Q: What day is best to work weekly backstock?
        A: It depends on your store, some factors to consider are: Load/Non Load days, availability of staff, and
           backroom layout.
        Q: What do I need to do with excessive inventory?
        A: Develop Exit Strategy for opportunity items:
           • In-store price reduction
           • Keep product on sale
           • Create selling event
           • Cross merchandising and tie-ins with other departments
           • E40 transfer to another store
           • Conduct proper item return
           • For DSD items, work with merchandising team to have vendor pick up items
        Q: Do all departments need separate slow movers?
        A: No, only Grocery, Frozen, Natural Foods, and Drug/GM are required to separate slow movers.
           However, other departments may choose to separate slow movers.
        Q: Do I have to work all of my slow moving backstock on the same day?
        A: No. However, all backstock should be worked each week. Some stores work slow moving backstock
           more than once a week.




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       SLOW MOVER (WEEKLY) BACKSTOCK CART SIGNAGE
         Tools: Product, Slow Mover cart, Worked/Not-Worked sign, dry erase marker
         Purpose: To keep the correct product on the cart and have it worked weekly to keep in-stock
         When: Weekly - before working the truck, or on a non truck day
         Who: Department Lead, Assistant Department Lead, and Clerk (Night)

              1. Setting up a Slow Mover                     2. Organize your Slow Mover
                                                                                                           3. Manage Slow Movers Carts
              Backstock Cart                                 Cart




          •    Assign Slow Mover cart for              •     Scan all product in Residual              •   Organize Slow Mover
               your department and/or aisle.                 Scan mode (do every week to                   backstock on correct aisle(s)
          •    Put Slow Mover template                       organize your cart).                          cart.
               inside of the lower sleeve of           •     Verify product is Slow Mover              •   Ensure each cart is dated and
               your backer board.                            backstock only.                               signed.
                                                       •     See Residual and Night Crew               •   Return Slow Mover cart to
          Why: This will help organize your                  Backstock Part Cases job aids                 marked location.
              cart with the correct product.                 for daily best practices.
                                                                                                       Why: Maintains 5S environment.
                                                       Why: This will keep an organized
                                                           backroom and allow your
                                                           team to stay better in stock.


                               4. Sign Off Complete                                      5. Validate




                           •    Associate writes initials,                           •     Validate Slow Mover carts
                                date, and day to work in                                   were worked weekly
                                the assigned boxes.                                        before starting lows/holes
                                                                                           walk.
                           Why: Gives visibility to                                  •     Prioritize any Slow Mover
                               department leader and                                       carts that were not
                               management when the                                         completed weekly.
                               last time slow mover
                               backstock was worked.                                 Why: Ensures all product is out
                                                                                           of the backroom.


      v. 9.11.19

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      SLOW MOVER (WEEKLY) BACKSTOCK CART
      SIGNAGE FAQS
        FAQs
        Q: Do Slow Mover carts need to be worked and scanned weekly prior to a truck being stocked?
        A: Yes. Working slow mover backstock weekly keeps you in-stock on items that are selling but not on a
           regular base. It also helps ensure BOHs are correct, product is properly rotated, and like product is
           grouped together in the backroom. Scanning your slow movers weekly in Residual Scan mode will
           also help organize your carts as items will from time to time become Active Backstock, this will
           minimize any out of stocks.
        Q: Do we have to rotate everything?
        A: Yes, this helps ensure the oldest product is first bought by the customer. It also helps ensure the
           customer has the longest shelf life possible after they purchase it.
        Q: What does the color yellow on the “Worked Slow Movers” side represent?
        A: Yellow is for a quick visual that this is a Slow Mover Backstock cart. Dating with the date completed,
           and initials of who worked the slow mover backstock cart last will help in prioritizing along with any
           training that my be needed.




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    THE 6 BEHAVIORS OF IN-STOCK APPLIES TO DIVISIONS ON THE IN-STOCK PROGRAM USING
    THE ZEBRA DEVICE.




                          6-Behaviors of IN-Stock
                                              Truck
                                              •   Elevate helps teams finish truck efficiently, allowing department leads to
                                                  start processes sooner & with more confidence that they are counting the
                                                  correct items.
                                              Remove Inventory
                                              •   Pulling damaged and out of date items as you find them will improve scan
                                                  out efficiency.

                                              Backroom Count
                                              •   Associates should place backstock on the carts that represent the aisle the
                                                  product is located. Placing product on proper backroom carts leads to
                                                  more accurate My Daily Count lists.
                                              •   Ensure that distributions are kept separate from the backstock carts until all
                                                  product from the distribution can fit on the cart.

                                              My Daily Count
                                              • Well-conditioned aisles make for easier counting.
                                              • Handling go backs as you find them will ensure improved BOH accuracy.


                                              Replenishment
                                              •   Stocking product to the correct location is important for replenishment.
                                                  When associates are creating replenishment lists, over packed items or
                                                  wrongly placed items will make this task difficult.                              0




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      Store Leadership
      Development Program
      ACRONYM LIST


         TERM                        MEANING                              TERM                 MEANING

          ADA          Americans With Disabilities Act                    CMA       Central Marketing Area



          AFS          Advanced Food Safety                               CMS       Category Management System


                       Automated Labor Scheduling =
          ALS                                                             COGS      Cost Of Goods Sold
                       SUPERSKED


          BFS          Basic Food Safety                                  COH       Cash On Hand



          BOB          Bottom Of Bascart                                  CSM       Customer Service Manager


                                                                                    Corporate Scanning Systems
         BOGO          Buy One, Get One                                       CSS
                                                                                    (Technology)

                                                                                    Customer Service Supervisor
        BOGOF          Buy One, Get One Free                                  CSS
                                                                                    (Front End)


          BOH          Balance On Hand                                        DEX   Direct Exchange Of Data



          CAO          Computer Assisted Ordering                         DSD       Direct Store Delivery



          CAR          Constructive Advice Record                             E40   Electronic Form 40


                                                                                    Earnings Before Interest, Taxes,
          CCG          Checkstand Crewing Guide                          EBITDA
                                                                                    Depreciation, and Amortization


          CDB          Corporate Data Base                                    EBT   Electronic Benefits Transfer



          CDC          Corporate Data Center                                  EDI   Electronic Data Interchange

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         TERM                        MEANING                               TERM                    MEANING

                       Equal Employment Opportunity                                     Hazard Analysis Critical Control
         EEOC                                                             HAACP
                       Commission                                                       Point


          EFT          Electronic Funds Transfer                            HBC         Health & Beauty Care


                       Enterprise Labor Management
         ELMS                                                                IPM        Integrated Pest Management
                       System


          EMS          Efficient Marketing Services                          ISO        In-store Ordering



           ESI         Electronic Store Invoice                              ISP        In-store Processor



          EUID         Enterprise User ID                                    ITD        Internal Department Transfer


                                                                                        Kroger Accounting Services
         FAQs          Frequently Asked Questions                          KASH
                                                                                        Hutchinson

                                                                                        Kroger Employees Mutual
          FAST         Foods at Safe Temperatures                         KEMBA
                                                                                        Benefit Association


          FCB          Financial Cost Billing                               KLN         Kroger Line Number



          FDA          Food and Drug Administration                          KLP        Kroger Labeled Product



          FES          Front-end Supervisor                                 KMA         Kroger Marketing Area


                       General Offices/Corporate
          G.O.                                                              KMP         Kroger Manufactured Product


                      General Merchandise (Not available in all
           GM         Kroger divisions/stores. Includes Home,               KPC         Kroger Product Code
                      Apparel, Photo, Electronics, and Music.)


          GNX          Global Net Exchange                                  KTV         Kroger Television Network



           GS          General Safety                                       LAN         Local Area Network




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         TERM                        MEANING                               TERM                    MEANING

          LINK         Electronic Coupon                                     PIT        Powered Industrial Truck



           MC          Master Controller                                    PLU         Price Look Up


                       Management Information
           MIS                                                              POD         Proof Of Delivery
                       System


           MR          Merchandising Representative                         POG         Plan-o-gram



          MSA          Marketing Sales Area                                 POP         Point of Purchase



         MSDS          Material Safety Data Sheets                          POS         Point of Sale



          MTM          Method Time Measurement                              PPE         Personal Protective Equipment


                       Medical Therapy Management                                       Regional Accounting Service
          MTM                                                              RASC
                       (RX)                                                             Center


          ODE          Online Data Entry                                    QRG         Quick Reference Guide



          OEN          Order Entry Number                                   SCO         Self-Checkout



          OJT          On-the-job Training                                   SDI        Scan Data Integrity


                                                                                        Supervisor Front-end
           OR          Order Register (Grocery)                            SFEO
                                                                                        Operations

                       Occupational Safety and Health
         OSHA                                                                SIR        Significant Incident Reminder
                       Administration


          OTC          Over The Counter (RX)                                SKU         Shop Keeping Unit



          OTM          One Touch Method                                     SON         Seven 0 Nine (709)




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         TERM                        MEANING

          SOS          Store Operation Services (CMA)


                       Store Operating Statement/
          SOS
                       Review


          SPA          Shelf Price Audit


                       Stores Targeting Accident
         STAR
                       Reduction (Safety program)


          TAA          Time & Attendance



          UPC          Universal Product Code



          UPS          Uninterruptible Power Supply


                       United States Department of
         USDA
                       Agriculture


           VS          Virtual Store (CBT)



          WAN          Wide Area Network



          WBL          Web-based Learning



          WIC          Women, Infant, and Children


                       Warehouse Inventory
         WIMS
                       Management Systems


         WOTC          Work Opportunity Tax Credit




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      Store Leadership
      Development Program
      NOTES




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                                        EXHIBIT C
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       Assistant Store Leader
       Company Name: Kroger Stores
       Position Type: Employee
       FLSA Status: Exempt




       Position Summary
       Responsible for assisting with the overall day-to-day operations of the store including continuous
       development of effective store associates to achieve desired sales and profit results. Assess daily the stores'
       ability to meet/exceed customer expectations for ease of shopping, variety, freshness, cleanliness, food
       safety and regulatory compliance. Assist with coaching and development of store associates through both
       formal and informal interactions. Demonstrate the company's core values of respect, honesty, integrity,
       diversity, inclusion and safety.
       Essential Job Functions
          Assist store manager and associates in the achievement of a favorable customer shopping experience
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          Lead teams in the planning, implementation and execution of merchandising and operating initiatives
          Work with department leaders and associates to identify opportunities in the store, develop timely
       solutions and create action plans to ensure implementation of plans
          Achieve/exceed weekly, period, and annual sales, wage budgets and profit budgets, and other targeted
       goals
          Drive sales working with department leaders to maximize sales and profits, reduce shrink and improve
       each store department's contribution
          Assist the store manager in the regular store-level financial performance discussions to include
       developing budgets and other targeted goals with store associates
          Utilize coordinators and other field staff to ensure store departments are achieving sales and profit
       goals and ensure implementation, and execution of division merchandising plans
          Promote and support strong relationships with local community organizations in the surrounding area in
       which the store operates
          Build a proactive and productive relationship with union representatives and business agents, if the
       store is covered by a collectively bargaining agreement
          Serve as liaison providing feedback to Store Manager, District Manager and Coordinators on the
       effectiveness of Division merchandising and operational plans/programs
          Assist the store manager in the hiring, onboarding, development and associate relations responsibilities
          Reduce turnover and increase retention
          Provide timely feedback to department leaders and associates on individual and department
       performance
          Assist with the management of labor and supply costs daily to meet customer service and financial
       targets
          Technical/Professional Knowledge, Compliance and Skills Achieve a satisfactory level of technical and
       professional skills or knowledge in position and/or related areas; keep up with current developments and
       trends
          Ensure associates and location comply with laws and regulation applicable to the company
          Supervise and coach direct reports on the performance of their duties; complete performance reviews
       and provide feedback to direct reports
          Must be able to perform the essential job functions of this position with or without reasonable
       accommodation
       Minimum Position Qualifications
          High School Diploma or GED
          Have successfully completed the applicable Division Management Training Program
       Desired Previous Experience/Education
          Bachelor's Degree
          Any supervisory responsibilities, retail experience, financial responsibility including budget preparation
       and management experience

       Education Level: Bachelor's Desired
       Required Travel: Up to 25%
       Required Certifications/Licenses: None
       Position Type: Full-Time
       Regions: Midwest



       Jobs at Kroger: At Kroger, we hire people who have a passion for helping others and who want to build a relationship with
       our Customers. No matter what stage of your career, you can build your future at Kroger. We look for people who want more,
       aspire to be more and work hard to achieve their goals. Our focus on keeping the Customer first is what makes us successful.
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       We offer many opportunities not only in our stores, but in Manufacturing, Logistics, Marketing, Finance, Human Resources,
       and many other fields.


       Company Overview: Kroger Family of Companies employs nearly half a million associates who serve over 11 million
       customers daily through a seamless shopping experience under a variety of banner names . At The Kroger Co., we
       are Fresh for Everyone™ and dedicated to our Purpose: To Feed the Human Spirit®. We are committed to creating
       #ZeroHungerZeroWaste communities by 2025. Careers with The Kroger Co. and our family of companies offer
       competitive wages, ﬂexible schedules, beneﬁts and room for advancement.


        Posting Notes: OH || Athens || 919 E State St || 45701 || Kroger Stores || None || Store Management; Management || Employee || Exempt || Full-Time || None




                       How To Apply For A Job At Kroger | Message From Kroger | Kroger




     Nearest Major Market: Athens


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           candidates for employment and to administer all human resource practices such as recruiting, hiring,
          promoting, and all other terms, conditions, and privileges of employment in a manner which does not
         discriminate on the basis of race, color, sex, disability, age, national origin, religion, sexual orientation,
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       Assistant Store Leader
       Company Name: Kroger Stores
       Position Type: Employee
       FLSA Status: Exempt




       Position Summary
       Responsible for assisting with the overall day-to-day operations of the store including continuous
       development of effective store associates to achieve desired sales and profit results. Assess daily the stores'
       ability to meet/exceed customer expectations for ease of shopping, variety, freshness, cleanliness, food
       safety and regulatory compliance. Assist with coaching and development of store associates through both
       formal and informal interactions. Demonstrate the company's core values of respect, honesty, integrity,
       diversity, inclusion and safety.
       Essential Job Functions
          Assist store manager and associates in the achievement of a favorable customer shopping experience
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          Lead teams in the planning, implementation and execution of merchandising and operating initiatives
          Work with department leaders and associates to identify opportunities in the store, develop timely
       solutions and create action plans to ensure implementation of plans
          Achieve/exceed weekly, period, and annual sales, wage budgets and profit budgets, and other targeted
       goals
          Drive sales working with department leaders to maximize sales and profits, reduce shrink and improve
       each store department's contribution
          Assist the store manager in the regular store-level financial performance discussions to include
       developing budgets and other targeted goals with store associates
          Utilize coordinators and other field staff to ensure store departments are achieving sales and profit
       goals and ensure implementation, and execution of division merchandising plans
          Promote and support strong relationships with local community organizations in the surrounding area in
       which the store operates
          Build a proactive and productive relationship with union representatives and business agents, if the
       store is covered by a collectively bargaining agreement
          Serve as liaison providing feedback to Store Manager, District Manager and Coordinators on the
       effectiveness of Division merchandising and operational plans/programs
          Assist the store manager in the hiring, onboarding, development and associate relations responsibilities
          Reduce turnover and increase retention
          Provide timely feedback to department leaders and associates on individual and department
       performance
          Assist with the management of labor and supply costs daily to meet customer service and financial
       targets
          Technical/Professional Knowledge, Compliance and Skills Achieve a satisfactory level of technical and
       professional skills or knowledge in position and/or related areas; keep up with current developments and
       trends
          Ensure associates and location comply with laws and regulation applicable to the company
          Supervise and coach direct reports on the performance of their duties; complete performance reviews
       and provide feedback to direct reports
          Must be able to perform the essential job functions of this position with or without reasonable
       accommodation
       Minimum Position Qualifications
          High School Diploma or GED
          Have successfully completed the applicable Division Management Training Program
       Desired Previous Experience/Education
          Bachelor's Degree
          Any supervisory responsibilities, retail experience, financial responsibility including budget preparation
       and management experience

       Education Level: Bachelor's Desired
       Required Travel: Up to 25%
       Required Certifications/Licenses: None
       Position Type: Full-Time
       Regions: South



       Jobs at Kroger: At Kroger, we hire people who have a passion for helping others and who want to build a relationship with
       our Customers. No matter what stage of your career, you can build your future at Kroger. We look for people who want more,
       aspire to be more and work hard to achieve their goals. Our focus on keeping the Customer first is what makes us successful.
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       We offer many opportunities not only in our stores, but in Manufacturing, Logistics, Marketing, Finance, Human Resources,
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       customers daily through a seamless shopping experience under a variety of banner names . At The Kroger Co., we
       are Fresh for Everyone™ and dedicated to our Purpose: To Feed the Human Spirit®. We are committed to creating
       #ZeroHungerZeroWaste communities by 2025. Careers with The Kroger Co. and our family of companies offer
       competitive wages, ﬂexible schedules, beneﬁts and room for advancement.


        Posting Notes: GA || Lawrenceville || 1475 Buford Dr || 30043 || Kroger Stores || None || Store Management; Management || Employee || Exempt || Full-Time || None




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       Assistant Store Leader- Baytown / Pasadena
       Company Name: Kroger Stores
       Position Type: Employee
       FLSA Status:




       Position Summary
       Responsible for assisting with the overall day-to-day operations of the store including continuous
       development of effective store associates to achieve desired sales and profit results. Assess daily the stores'
       ability to meet/exceed customer expectations for ease of shopping, variety, freshness, cleanliness, food
       safety and regulatory compliance. Assist with coaching and development of store associates through both
       formal and informal interactions. Demonstrate the company's core values of respect, honesty, integrity,
       diversity, inclusion and safety.
       Essential Job Functions
          Assist store manager and associates in the achievement of a favorable customer shopping experience
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          Lead teams in the planning, implementation and execution of merchandising and operating initiatives
          Work with department leaders and associates to identify opportunities in the store, develop timely
       solutions and create action plans to ensure implementation of plans
          Achieve/exceed weekly, period, and annual sales, wage budgets and profit budgets, and other targeted
       goals
          Drive sales working with department leaders to maximize sales and profits, reduce shrink and improve
       each store department's contribution
          Assist the store manager in the regular store-level financial performance discussions to include
       developing budgets and other targeted goals with store associates
          Utilize coordinators and other field staff to ensure store departments are achieving sales and profit
       goals and ensure implementation, and execution of division merchandising plans
          Promote and support strong relationships with local community organizations in the surrounding area in
       which the store operates
          Build a proactive and productive relationship with union representatives and business agents, if the
       store is covered by a collectively bargaining agreement
          Serve as liaison providing feedback to Store Manager, District Manager and Coordinators on the
       effectiveness of Division merchandising and operational plans/programs
          Assist the store manager in the hiring, onboarding, development and associate relations responsibilities
          Reduce turnover and increase retention
          Provide timely feedback to department leaders and associates on individual and department
       performance
          Assist with the management of labor and supply costs daily to meet customer service and financial
       targets
          Technical/Professional Knowledge, Compliance and Skills Achieve a satisfactory level of technical and
       professional skills or knowledge in position and/or related areas; keep up with current developments and
       trends
          Ensure associates and location comply with laws and regulation applicable to the company
          Supervise and coach direct reports on the performance of their duties; complete performance reviews
       and provide feedback to direct reports
          Must be able to perform the essential job functions of this position with or without reasonable
       accommodation
       Minimum Position Qualifications
          High School Diploma or GED
          Have successfully completed the applicable Division Management Training Program
       Desired Previous Experience/Education
          Bachelor's Degree
          Any supervisory responsibilities, retail experience, financial responsibility including budget preparation
       and management experience

       Education Level: Other
       Required Travel: Up to 25%
       Required Certifications/Licenses: None
       Position Type: Full-Time
       Regions: South



       Jobs at Kroger: At Kroger, we hire people who have a passion for helping others and who want to build a relationship with
       our Customers. No matter what stage of your career, you can build your future at Kroger. We look for people who want more,
       aspire to be more and work hard to achieve their goals. Our focus on keeping the Customer first is what makes us successful.
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       We offer many opportunities not only in our stores, but in Manufacturing, Logistics, Marketing, Finance, Human Resources,
       and many other fields.


       Company Overview: Kroger Family of Companies employs nearly half a million associates who serve over 11 million
       customers daily through a seamless shopping experience under a variety of banner names . At The Kroger Co., we
       are Fresh for Everyone™ and dedicated to our Purpose: To Feed the Human Spirit®. We are committed to creating
       #ZeroHungerZeroWaste communities by 2025. Careers with The Kroger Co. and our family of companies offer
       competitive wages, ﬂexible schedules, beneﬁts and room for advancement.


        Posting Notes: TX || La Porte || 1300 W Fairmont Pkwy || 77571 || Kroger Stores || None || Store Management || Employee || Exempt || Full-Time || None




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       Assistant Store Leader-Clear Lake / Friendswood
       Company Name: Kroger Stores
       Position Type: Employee
       FLSA Status:




       Position Summary
       Responsible for assisting with the overall day-to-day operations of the store including continuous
       development of effective store associates to achieve desired sales and profit results. Assess daily the stores'
       ability to meet/exceed customer expectations for ease of shopping, variety, freshness, cleanliness, food
       safety and regulatory compliance. Assist with coaching and development of store associates through both
       formal and informal interactions. Demonstrate the company's core values of respect, honesty, integrity,
       diversity, inclusion and safety.
       Essential Job Functions
          Assist store manager and associates in the achievement of a favorable customer shopping experience
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          Lead teams in the planning, implementation and execution of merchandising and operating initiatives
          Work with department leaders and associates to identify opportunities in the store, develop timely
       solutions and create action plans to ensure implementation of plans
          Achieve/exceed weekly, period, and annual sales, wage budgets and profit budgets, and other targeted
       goals
          Drive sales working with department leaders to maximize sales and profits, reduce shrink and improve
       each store department's contribution
          Assist the store manager in the regular store-level financial performance discussions to include
       developing budgets and other targeted goals with store associates
          Utilize coordinators and other field staff to ensure store departments are achieving sales and profit
       goals and ensure implementation, and execution of division merchandising plans
          Promote and support strong relationships with local community organizations in the surrounding area in
       which the store operates
          Build a proactive and productive relationship with union representatives and business agents, if the
       store is covered by a collectively bargaining agreement
          Serve as liaison providing feedback to Store Manager, District Manager and Coordinators on the
       effectiveness of Division merchandising and operational plans/programs
          Assist the store manager in the hiring, onboarding, development and associate relations responsibilities
          Reduce turnover and increase retention
          Provide timely feedback to department leaders and associates on individual and department
       performance
          Assist with the management of labor and supply costs daily to meet customer service and financial
       targets
          Technical/Professional Knowledge, Compliance and Skills Achieve a satisfactory level of technical and
       professional skills or knowledge in position and/or related areas; keep up with current developments and
       trends
          Ensure associates and location comply with laws and regulation applicable to the company
          Supervise and coach direct reports on the performance of their duties; complete performance reviews
       and provide feedback to direct reports
          Must be able to perform the essential job functions of this position with or without reasonable
       accommodation
       Minimum Position Qualifications
          High School Diploma or GED
          Have successfully completed the applicable Division Management Training Program
       Desired Previous Experience/Education
          Bachelor's Degree
          Any supervisory responsibilities, retail experience, financial responsibility including budget preparation
       and management experience

       Education Level: Other
       Required Travel: Up to 25%
       Required Certifications/Licenses: None
       Position Type: Full-Time
       Regions: South



       Jobs at Kroger: At Kroger, we hire people who have a passion for helping others and who want to build a relationship with
       our Customers. No matter what stage of your career, you can build your future at Kroger. We look for people who want more,
       aspire to be more and work hard to achieve their goals. Our focus on keeping the Customer first is what makes us successful.
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       We offer many opportunities not only in our stores, but in Manufacturing, Logistics, Marketing, Finance, Human Resources,
       and many other fields.


       Company Overview: Kroger Family of Companies employs nearly half a million associates who serve over 11 million
       customers daily through a seamless shopping experience under a variety of banner names . At The Kroger Co., we
       are Fresh for Everyone™ and dedicated to our Purpose: To Feed the Human Spirit®. We are committed to creating
       #ZeroHungerZeroWaste communities by 2025. Careers with The Kroger Co. and our family of companies offer
       competitive wages, ﬂexible schedules, beneﬁts and room for advancement.


        Posting Notes: TX || Houston || 16400 El Camino Real || 77062 || Kroger Stores || None || Store Management || Employee || Exempt || Full-Time || None




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       Assistant Store Leader- Clute / Angleton
       Company Name: Kroger Stores
       Position Type: Employee
       FLSA Status:




       Position Summary
       Responsible for assisting with the overall day-to-day operations of the store including continuous
       development of effective store associates to achieve desired sales and profit results. Assess daily the stores'
       ability to meet/exceed customer expectations for ease of shopping, variety, freshness, cleanliness, food
       safety and regulatory compliance. Assist with coaching and development of store associates through both
       formal and informal interactions. Demonstrate the company's core values of respect, honesty, integrity,
       diversity, inclusion and safety.
       Essential Job Functions
          Assist store manager and associates in the achievement of a favorable customer shopping experience
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          Lead teams in the planning, implementation and execution of merchandising and operating initiatives
          Work with department leaders and associates to identify opportunities in the store, develop timely
       solutions and create action plans to ensure implementation of plans
          Achieve/exceed weekly, period, and annual sales, wage budgets and profit budgets, and other targeted
       goals
          Drive sales working with department leaders to maximize sales and profits, reduce shrink and improve
       each store department's contribution
          Assist the store manager in the regular store-level financial performance discussions to include
       developing budgets and other targeted goals with store associates
          Utilize coordinators and other field staff to ensure store departments are achieving sales and profit
       goals and ensure implementation, and execution of division merchandising plans
          Promote and support strong relationships with local community organizations in the surrounding area in
       which the store operates
          Build a proactive and productive relationship with union representatives and business agents, if the
       store is covered by a collectively bargaining agreement
          Serve as liaison providing feedback to Store Manager, District Manager and Coordinators on the
       effectiveness of Division merchandising and operational plans/programs
          Assist the store manager in the hiring, onboarding, development and associate relations responsibilities
          Reduce turnover and increase retention
          Provide timely feedback to department leaders and associates on individual and department
       performance
          Assist with the management of labor and supply costs daily to meet customer service and financial
       targets
          Technical/Professional Knowledge, Compliance and Skills Achieve a satisfactory level of technical and
       professional skills or knowledge in position and/or related areas; keep up with current developments and
       trends
          Ensure associates and location comply with laws and regulation applicable to the company
          Supervise and coach direct reports on the performance of their duties; complete performance reviews
       and provide feedback to direct reports
          Must be able to perform the essential job functions of this position with or without reasonable
       accommodation
       Minimum Position Qualifications
          High School Diploma or GED
          Have successfully completed the applicable Division Management Training Program
       Desired Previous Experience/Education
          Bachelor's Degree
          Any supervisory responsibilities, retail experience, financial responsibility including budget preparation
       and management experience

       Education Level: Other
       Required Travel: Up to 25%
       Required Certifications/Licenses: None
       Position Type: Full-Time
       Regions: South



       Jobs at Kroger: At Kroger, we hire people who have a passion for helping others and who want to build a relationship with
       our Customers. No matter what stage of your career, you can build your future at Kroger. We look for people who want more,
       aspire to be more and work hard to achieve their goals. Our focus on keeping the Customer first is what makes us successful.
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       We offer many opportunities not only in our stores, but in Manufacturing, Logistics, Marketing, Finance, Human Resources,
       and many other fields.


       Company Overview: Kroger Family of Companies employs nearly half a million associates who serve over 11 million
       customers daily through a seamless shopping experience under a variety of banner names . At The Kroger Co., we
       are Fresh for Everyone™ and dedicated to our Purpose: To Feed the Human Spirit®. We are committed to creating
       #ZeroHungerZeroWaste communities by 2025. Careers with The Kroger Co. and our family of companies offer
       competitive wages, ﬂexible schedules, beneﬁts and room for advancement.


        Posting Notes: TX || Clute || 800 N Dixie Dr || 77531 || Kroger Stores || None || Store Management || Employee || Exempt || Full-Time || None




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       Assistant Store Leader- League City
       Company Name: Kroger Stores
       Position Type: Employee
       FLSA Status:




       Position Summary
       Responsible for assisting with the overall day-to-day operations of the store including continuous
       development of effective store associates to achieve desired sales and profit results. Assess daily the stores'
       ability to meet/exceed customer expectations for ease of shopping, variety, freshness, cleanliness, food
       safety and regulatory compliance. Assist with coaching and development of store associates through both
       formal and informal interactions. Demonstrate the company's core values of respect, honesty, integrity,
       diversity, inclusion and safety.
       Essential Job Functions
          Assist store manager and associates in the achievement of a favorable customer shopping experience
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          Lead teams in the planning, implementation and execution of merchandising and operating initiatives
          Work with department leaders and associates to identify opportunities in the store, develop timely
       solutions and create action plans to ensure implementation of plans
          Achieve/exceed weekly, period, and annual sales, wage budgets and profit budgets, and other targeted
       goals
          Drive sales working with department leaders to maximize sales and profits, reduce shrink and improve
       each store department's contribution
          Assist the store manager in the regular store-level financial performance discussions to include
       developing budgets and other targeted goals with store associates
          Utilize coordinators and other field staff to ensure store departments are achieving sales and profit
       goals and ensure implementation, and execution of division merchandising plans
          Promote and support strong relationships with local community organizations in the surrounding area in
       which the store operates
          Build a proactive and productive relationship with union representatives and business agents, if the
       store is covered by a collectively bargaining agreement
          Serve as liaison providing feedback to Store Manager, District Manager and Coordinators on the
       effectiveness of Division merchandising and operational plans/programs
          Assist the store manager in the hiring, onboarding, development and associate relations responsibilities
          Reduce turnover and increase retention
          Provide timely feedback to department leaders and associates on individual and department
       performance
          Assist with the management of labor and supply costs daily to meet customer service and financial
       targets
          Technical/Professional Knowledge, Compliance and Skills Achieve a satisfactory level of technical and
       professional skills or knowledge in position and/or related areas; keep up with current developments and
       trends
          Ensure associates and location comply with laws and regulation applicable to the company
          Supervise and coach direct reports on the performance of their duties; complete performance reviews
       and provide feedback to direct reports
          Must be able to perform the essential job functions of this position with or without reasonable
       accommodation
       Minimum Position Qualifications
          High School Diploma or GED
          Have successfully completed the applicable Division Management Training Program
       Desired Previous Experience/Education
          Bachelor's Degree
          Any supervisory responsibilities, retail experience, financial responsibility including budget preparation
       and management experience

       Education Level: Other
       Required Travel: Up to 25%
       Required Certifications/Licenses: None
       Position Type: Full-Time
       Regions: South



       Jobs at Kroger: At Kroger, we hire people who have a passion for helping others and who want to build a relationship with
       our Customers. No matter what stage of your career, you can build your future at Kroger. We look for people who want more,
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       We offer many opportunities not only in our stores, but in Manufacturing, Logistics, Marketing, Finance, Human Resources,
       and many other fields.


       Company Overview: Kroger Family of Companies employs nearly half a million associates who serve over 11 million
       customers daily through a seamless shopping experience under a variety of banner names . At The Kroger Co., we
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       #ZeroHungerZeroWaste communities by 2025. Careers with The Kroger Co. and our family of companies offer
       competitive wages, ﬂexible schedules, beneﬁts and room for advancement.


        Posting Notes: TX || League City || 2750 E League City Pkwy || 77573 || Kroger Stores || None || Store Management || Employee || Exempt || Full-Time || None




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       Assistant Store Leader- Pearland
       Company Name: Kroger Stores
       Position Type: Employee
       FLSA Status:




       Position Summary
       Responsible for assisting with the overall day-to-day operations of the store including continuous
       development of effective store associates to achieve desired sales and profit results. Assess daily the stores'
       ability to meet/exceed customer expectations for ease of shopping, variety, freshness, cleanliness, food
       safety and regulatory compliance. Assist with coaching and development of store associates through both
       formal and informal interactions. Demonstrate the company's core values of respect, honesty, integrity,
       diversity, inclusion and safety.
       Essential Job Functions
          Assist store manager and associates in the achievement of a favorable customer shopping experience
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          Lead teams in the planning, implementation and execution of merchandising and operating initiatives
          Work with department leaders and associates to identify opportunities in the store, develop timely
       solutions and create action plans to ensure implementation of plans
          Achieve/exceed weekly, period, and annual sales, wage budgets and profit budgets, and other targeted
       goals
          Drive sales working with department leaders to maximize sales and profits, reduce shrink and improve
       each store department's contribution
          Assist the store manager in the regular store-level financial performance discussions to include
       developing budgets and other targeted goals with store associates
          Utilize coordinators and other field staff to ensure store departments are achieving sales and profit
       goals and ensure implementation, and execution of division merchandising plans
          Promote and support strong relationships with local community organizations in the surrounding area in
       which the store operates
          Build a proactive and productive relationship with union representatives and business agents, if the
       store is covered by a collectively bargaining agreement
          Serve as liaison providing feedback to Store Manager, District Manager and Coordinators on the
       effectiveness of Division merchandising and operational plans/programs
          Assist the store manager in the hiring, onboarding, development and associate relations responsibilities
          Reduce turnover and increase retention
          Provide timely feedback to department leaders and associates on individual and department
       performance
          Assist with the management of labor and supply costs daily to meet customer service and financial
       targets
          Technical/Professional Knowledge, Compliance and Skills Achieve a satisfactory level of technical and
       professional skills or knowledge in position and/or related areas; keep up with current developments and
       trends
          Ensure associates and location comply with laws and regulation applicable to the company
          Supervise and coach direct reports on the performance of their duties; complete performance reviews
       and provide feedback to direct reports
          Must be able to perform the essential job functions of this position with or without reasonable
       accommodation
       Minimum Position Qualifications
          High School Diploma or GED
          Have successfully completed the applicable Division Management Training Program
       Desired Previous Experience/Education
          Bachelor's Degree
          Any supervisory responsibilities, retail experience, financial responsibility including budget preparation
       and management experience

       Education Level: Other
       Required Travel: Up to 25%
       Required Certifications/Licenses: None
       Position Type: Full-Time
       Regions: South



       Jobs at Kroger: At Kroger, we hire people who have a passion for helping others and who want to build a relationship with
       our Customers. No matter what stage of your career, you can build your future at Kroger. We look for people who want more,
       aspire to be more and work hard to achieve their goals. Our focus on keeping the Customer first is what makes us successful.
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       We offer many opportunities not only in our stores, but in Manufacturing, Logistics, Marketing, Finance, Human Resources,
       and many other fields.


       Company Overview: Kroger Family of Companies employs nearly half a million associates who serve over 11 million
       customers daily through a seamless shopping experience under a variety of banner names . At The Kroger Co., we
       are Fresh for Everyone™ and dedicated to our Purpose: To Feed the Human Spirit®. We are committed to creating
       #ZeroHungerZeroWaste communities by 2025. Careers with The Kroger Co. and our family of companies offer
       competitive wages, ﬂexible schedules, beneﬁts and room for advancement.


        Posting Notes: TX || Pearland || 8323 Broadway St || 77584 || Kroger Stores || None || Store Management || Employee || Exempt || Full-Time || None




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           candidates for employment and to administer all human resource practices such as recruiting, hiring,
          promoting, and all other terms, conditions, and privileges of employment in a manner which does not
         discriminate on the basis of race, color, sex, disability, age, national origin, religion, sexual orientation,
        gender identity, genetic information or any other characteristic protected by applicable law. All Comments
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       Assistant Store Leader- Sugarland / Missouri City
       Company Name: Kroger Stores
       Position Type: Employee
       FLSA Status:




       Position Summary
       Responsible for assisting with the overall day-to-day operations of the store including continuous
       development of effective store associates to achieve desired sales and profit results. Assess daily the stores'
       ability to meet/exceed customer expectations for ease of shopping, variety, freshness, cleanliness, food
       safety and regulatory compliance. Assist with coaching and development of store associates through both
       formal and informal interactions. Demonstrate the company's core values of respect, honesty, integrity,
       diversity, inclusion and safety.
       Essential Job Functions
          Assist store manager and associates in the achievement of a favorable customer shopping experience
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          Lead teams in the planning, implementation and execution of merchandising and operating initiatives
          Work with department leaders and associates to identify opportunities in the store, develop timely
       solutions and create action plans to ensure implementation of plans
          Achieve/exceed weekly, period, and annual sales, wage budgets and profit budgets, and other targeted
       goals
          Drive sales working with department leaders to maximize sales and profits, reduce shrink and improve
       each store department's contribution
          Assist the store manager in the regular store-level financial performance discussions to include
       developing budgets and other targeted goals with store associates
          Utilize coordinators and other field staff to ensure store departments are achieving sales and profit
       goals and ensure implementation, and execution of division merchandising plans
          Promote and support strong relationships with local community organizations in the surrounding area in
       which the store operates
          Build a proactive and productive relationship with union representatives and business agents, if the
       store is covered by a collectively bargaining agreement
          Serve as liaison providing feedback to Store Manager, District Manager and Coordinators on the
       effectiveness of Division merchandising and operational plans/programs
          Assist the store manager in the hiring, onboarding, development and associate relations responsibilities
          Reduce turnover and increase retention
          Provide timely feedback to department leaders and associates on individual and department
       performance
          Assist with the management of labor and supply costs daily to meet customer service and financial
       targets
          Technical/Professional Knowledge, Compliance and Skills Achieve a satisfactory level of technical and
       professional skills or knowledge in position and/or related areas; keep up with current developments and
       trends
          Ensure associates and location comply with laws and regulation applicable to the company
          Supervise and coach direct reports on the performance of their duties; complete performance reviews
       and provide feedback to direct reports
          Must be able to perform the essential job functions of this position with or without reasonable
       accommodation
       Minimum Position Qualifications
          High School Diploma or GED
          Have successfully completed the applicable Division Management Training Program
       Desired Previous Experience/Education
          Bachelor's Degree
          Any supervisory responsibilities, retail experience, financial responsibility including budget preparation
       and management experience

       Education Level: Other
       Required Travel: Up to 25%
       Required Certifications/Licenses: None
       Position Type: Full-Time
       Regions: South



       Jobs at Kroger: At Kroger, we hire people who have a passion for helping others and who want to build a relationship with
       our Customers. No matter what stage of your career, you can build your future at Kroger. We look for people who want more,
       aspire to be more and work hard to achieve their goals. Our focus on keeping the Customer first is what makes us successful.
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       We offer many opportunities not only in our stores, but in Manufacturing, Logistics, Marketing, Finance, Human Resources,
       and many other fields.


       Company Overview: Kroger Family of Companies employs nearly half a million associates who serve over 11 million
       customers daily through a seamless shopping experience under a variety of banner names . At The Kroger Co., we
       are Fresh for Everyone™ and dedicated to our Purpose: To Feed the Human Spirit®. We are committed to creating
       #ZeroHungerZeroWaste communities by 2025. Careers with The Kroger Co. and our family of companies offer
       competitive wages, ﬂexible schedules, beneﬁts and room for advancement.


        Posting Notes: TX || Missouri City || 6200 Highway 6 || 77459 || Kroger Stores || None || Store Management || Employee || Exempt || Full-Time || None




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     Nearest Major Market: Houston


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       District 2 Assistant Store Leader
       Company Name: Kroger Stores
       Position Type: Employee
       FLSA Status:




       Position Summary
       Responsible for assisting with the overall day-to-day operations of the store including continuous
       development of effective store associates to achieve desired sales and profit results. Assess daily the stores'
       ability to meet/exceed customer expectations for ease of shopping, variety, freshness, cleanliness, food
       safety and regulatory compliance. Assist with coaching and development of store associates through both
       formal and informal interactions. Demonstrate the company's core values of respect, honesty, integrity,
       diversity, inclusion and safety.
       Essential Job Functions
          Assist store manager and associates in the achievement of a favorable customer shopping experience
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          Lead teams in the planning, implementation and execution of merchandising and operating initiatives
          Work with department leaders and associates to identify opportunities in the store, develop timely
       solutions and create action plans to ensure implementation of plans
          Achieve/exceed weekly, period, and annual sales, wage budgets and profit budgets, and other targeted
       goals
          Drive sales working with department leaders to maximize sales and profits, reduce shrink and improve
       each store department's contribution
          Assist the store manager in the regular store-level financial performance discussions to include
       developing budgets and other targeted goals with store associates
          Utilize coordinators and other field staff to ensure store departments are achieving sales and profit
       goals and ensure implementation, and execution of division merchandising plans
          Promote and support strong relationships with local community organizations in the surrounding area in
       which the store operates
          Build a proactive and productive relationship with union representatives and business agents, if the
       store is covered by a collectively bargaining agreement
          Serve as liaison providing feedback to Store Manager, District Manager and Coordinators on the
       effectiveness of Division merchandising and operational plans/programs
          Assist the store manager in the hiring, onboarding, development and associate relations responsibilities
          Reduce turnover and increase retention
          Provide timely feedback to department leaders and associates on individual and department
       performance
          Assist with the management of labor and supply costs daily to meet customer service and financial
       targets
          Technical/Professional Knowledge, Compliance and Skills Achieve a satisfactory level of technical and
       professional skills or knowledge in position and/or related areas; keep up with current developments and
       trends
          Ensure associates and location comply with laws and regulation applicable to the company
          Supervise and coach direct reports on the performance of their duties; complete performance reviews
       and provide feedback to direct reports
          Must be able to perform the essential job functions of this position with or without reasonable
       accommodation
       Minimum Position Qualifications
          High School Diploma or GED
          Have successfully completed the applicable Division Management Training Program
       Desired Previous Experience/Education
          Bachelor's Degree
          Any supervisory responsibilities, retail experience, financial responsibility including budget preparation
       and management experience

       Education Level: Associates Required
       Required Travel: Up to 25%
       Required Certifications/Licenses: None
       Position Type: Full-Time
       Regions: Mid-Atlantic



       Jobs at Kroger: At Kroger, we hire people who have a passion for helping others and who want to build a relationship with
       our Customers. No matter what stage of your career, you can build your future at Kroger. We look for people who want more,
       aspire to be more and work hard to achieve their goals. Our focus on keeping the Customer first is what makes us successful.
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       We offer many opportunities not only in our stores, but in Manufacturing, Logistics, Marketing, Finance, Human Resources,
       and many other fields.


       Company Overview: Kroger Family of Companies employs nearly half a million associates who serve over 11 million
       customers daily through a seamless shopping experience under a variety of banner names . At The Kroger Co., we
       are Fresh for Everyone™ and dedicated to our Purpose: To Feed the Human Spirit®. We are committed to creating
       #ZeroHungerZeroWaste communities by 2025. Careers with The Kroger Co. and our family of companies offer
       competitive wages, ﬂexible schedules, beneﬁts and room for advancement.


        Posting Notes: TN || Johnson City || 1805 W State Of Franklin || 37604 || Kroger Stores || None || Human Resources; Merchandising; Store Management; Store Operations

       || Employee || Exempt || Full-Time || None




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           candidates for employment and to administer all human resource practices such as recruiting, hiring,
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       District 3 Assistant Store Leader
       Company Name: Kroger Stores
       Position Type: Employee
       FLSA Status:




       Position Summary
       Responsible for assisting with the overall day-to-day operations of the store including continuous
       development of effective store associates to achieve desired sales and profit results. Assess daily the stores'
       ability to meet/exceed customer expectations for ease of shopping, variety, freshness, cleanliness, food
       safety and regulatory compliance. Assist with coaching and development of store associates through both
       formal and informal interactions. Demonstrate the company's core values of respect, honesty, integrity,
       diversity, inclusion and safety.
       Essential Job Functions
          Assist store manager and associates in the achievement of a favorable customer shopping experience
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          Lead teams in the planning, implementation and execution of merchandising and operating initiatives
          Work with department leaders and associates to identify opportunities in the store, develop timely
       solutions and create action plans to ensure implementation of plans
          Achieve/exceed weekly, period, and annual sales, wage budgets and profit budgets, and other targeted
       goals
          Drive sales working with department leaders to maximize sales and profits, reduce shrink and improve
       each store department's contribution
          Assist the store manager in the regular store-level financial performance discussions to include
       developing budgets and other targeted goals with store associates
          Utilize coordinators and other field staff to ensure store departments are achieving sales and profit
       goals and ensure implementation, and execution of division merchandising plans
          Promote and support strong relationships with local community organizations in the surrounding area in
       which the store operates
          Build a proactive and productive relationship with union representatives and business agents, if the
       store is covered by a collectively bargaining agreement
          Serve as liaison providing feedback to Store Manager, District Manager and Coordinators on the
       effectiveness of Division merchandising and operational plans/programs
          Assist the store manager in the hiring, onboarding, development and associate relations responsibilities
          Reduce turnover and increase retention
          Provide timely feedback to department leaders and associates on individual and department
       performance
          Assist with the management of labor and supply costs daily to meet customer service and financial
       targets
          Technical/Professional Knowledge, Compliance and Skills Achieve a satisfactory level of technical and
       professional skills or knowledge in position and/or related areas; keep up with current developments and
       trends
          Ensure associates and location comply with laws and regulation applicable to the company
          Supervise and coach direct reports on the performance of their duties; complete performance reviews
       and provide feedback to direct reports
          Must be able to perform the essential job functions of this position with or without reasonable
       accommodation
       Minimum Position Qualifications
          High School Diploma or GED
          Have successfully completed the applicable Division Management Training Program
       Desired Previous Experience/Education
          Bachelor's Degree
          Any supervisory responsibilities, retail experience, financial responsibility including budget preparation
       and management experience

       Education Level: Associates Required
       Required Travel: Up to 25%
       Required Certifications/Licenses: None
       Position Type: Full-Time
       Regions: Mid-Atlantic



       Jobs at Kroger: At Kroger, we hire people who have a passion for helping others and who want to build a relationship with
       our Customers. No matter what stage of your career, you can build your future at Kroger. We look for people who want more,
       aspire to be more and work hard to achieve their goals. Our focus on keeping the Customer first is what makes us successful.
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       We offer many opportunities not only in our stores, but in Manufacturing, Logistics, Marketing, Finance, Human Resources,
       and many other fields.


       Company Overview: Kroger Family of Companies employs nearly half a million associates who serve over 11 million
       customers daily through a seamless shopping experience under a variety of banner names . At The Kroger Co., we
       are Fresh for Everyone™ and dedicated to our Purpose: To Feed the Human Spirit®. We are committed to creating
       #ZeroHungerZeroWaste communities by 2025. Careers with The Kroger Co. and our family of companies offer
       competitive wages, ﬂexible schedules, beneﬁts and room for advancement.


        Posting Notes: WV || Logan || Rt44 Holden Rd || 25601 || Kroger Stores || None || Human Resources; Merchandising; Store Management; Store Operations || Employee || Exempt ||

       Full-Time || None




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     Nearest Major Market: Charleston


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       District 4 Assistant Store Leader
       Company Name: Kroger Stores
       Position Type: Employee
       FLSA Status: Exempt




       Position Summary
       Responsible for assisting with the overall day-to-day operations of the store including continuous
       development of effective store associates to achieve desired sales and profit results. Assess daily the stores'
       ability to meet/exceed customer expectations for ease of shopping, variety, freshness, cleanliness, food
       safety and regulatory compliance. Assist with coaching and development of store associates through both
       formal and informal interactions. Demonstrate the company's core values of respect, honesty, integrity,
       diversity, inclusion and safety.
       Essential Job Functions
          Assist store manager and associates in the achievement of a favorable customer shopping experience
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          Lead teams in the planning, implementation and execution of merchandising and operating initiatives
          Work with department leaders and associates to identify opportunities in the store, develop timely
       solutions and create action plans to ensure implementation of plans
          Achieve/exceed weekly, period, and annual sales, wage budgets and profit budgets, and other targeted
       goals
          Drive sales working with department leaders to maximize sales and profits, reduce shrink and improve
       each store department's contribution
          Assist the store manager in the regular store-level financial performance discussions to include
       developing budgets and other targeted goals with store associates
          Utilize coordinators and other field staff to ensure store departments are achieving sales and profit
       goals and ensure implementation, and execution of division merchandising plans
          Promote and support strong relationships with local community organizations in the surrounding area in
       which the store operates
          Build a proactive and productive relationship with union representatives and business agents, if the
       store is covered by a collectively bargaining agreement
          Serve as liaison providing feedback to Store Manager, District Manager and Coordinators on the
       effectiveness of Division merchandising and operational plans/programs
          Assist the store manager in the hiring, onboarding, development and associate relations responsibilities
          Reduce turnover and increase retention
          Provide timely feedback to department leaders and associates on individual and department
       performance
          Assist with the management of labor and supply costs daily to meet customer service and financial
       targets
          Technical/Professional Knowledge, Compliance and Skills Achieve a satisfactory level of technical and
       professional skills or knowledge in position and/or related areas; keep up with current developments and
       trends
          Ensure associates and location comply with laws and regulation applicable to the company
          Supervise and coach direct reports on the performance of their duties; complete performance reviews
       and provide feedback to direct reports
          Must be able to perform the essential job functions of this position with or without reasonable
       accommodation
       Minimum Position Qualifications
          High School Diploma or GED
          Have successfully completed the applicable Division Management Training Program
       Desired Previous Experience/Education
          Bachelor's Degree
          Any Supervisory responsibilities, retail experience, financial responsibility including budget preparation
       and management experience

       Education Level: Associates Required
       Required Travel: Up to 25%
       Required Certifications/Licenses: None
       Position Type: Full-Time
       Regions: Mid-Atlantic



       Jobs at Kroger: At Kroger, we hire people who have a passion for helping others and who want to build a relationship with
       our Customers. No matter what stage of your career, you can build your future at Kroger. We look for people who want more,
       aspire to be more and work hard to achieve their goals. Our focus on keeping the Customer first is what makes us successful.
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       We offer many opportunities not only in our stores, but in Manufacturing, Logistics, Marketing, Finance, Human Resources,
       and many other fields.


       Company Overview: Kroger Family of Companies employs nearly half a million associates who serve over 11 million
       customers daily through a seamless shopping experience under a variety of banner names . At The Kroger Co., we
       are Fresh for Everyone™ and dedicated to our Purpose: To Feed the Human Spirit®. We are committed to creating
       #ZeroHungerZeroWaste communities by 2025. Careers with The Kroger Co. and our family of companies offer
       competitive wages, ﬂexible schedules, beneﬁts and room for advancement.


        Posting Notes: OH || Belpre || 1008 Washington Blvd || 45714 || Kroger Stores || None || Human Resources; Merchandising; Store Management; Store Operations || Employee || Exempt

       || Full-Time || None




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     Nearest Major Market: Athens


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                                        District 4 Assistant Store Leader at Kroger


     Kroger
         Clarksburg, WV,              Post Date: November 22, 2020      Full Time




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     Job Description
     Company Name:Kroger Stores
     Position Type:Employee
     FLSA Status:
     Position Summary
     Responsible for assisting with the overall day-to-day operations of the store including
     continuous development of effective store associates to achieve desired sales and profit results.
     Assess daily the stores' ability to meet/exceed customer expectations for ease of shopping,
     variety, freshness, cleanliness, food safety and regulatory compliance. Assist with coaching and
     development of store associates through both formal and informal interactions. Demonstrate the
     company's core values of respect, honesty, integrity, diversity, inclusion and safety.
     Essential Job Functions
         Assist store manager and associates in the achievement of a favorable customer shopping
     experience
         Lead teams in the planning, implementation and execution of merchandising and operating
     initiatives
         Work with department leaders and associates to identify opportunities in the store, develop
     timely solutions and create action plans to ensure implementation of plans
         Achieve/exceed weekly, period, and annual sales, wage budgets and profit budgets, and
     other targeted goals
         Drive sales working with department leaders to maximize sales and profits, reduce shrink and
     improve each store department's contribution
         Assist the store manager in the regular store-level financial performance discussions to
     include developing budgets and other targeted goals with store associates
         Utilize coordinators and other field staff to ensure store departments are achieving sales and
     profit goals and ensure implementation, and execution of division merchandising plans
         Promote and support strong relationships with local community organizations in the
     surrounding area in which the store operates
     Minimum Position Qualifications
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         Build a proactive and productive relationship with union representatives and business agents,
     if the store is covered by a collectively bargaining agreement
         Serve as liaison providing feedback to Store Manager, District Manager and Coordinators on
     the effectiveness of Division merchandising and operational plans/programs
         Assist the store manager in the hiring, onboarding, development and associate relations
     responsibilities
         Reduce turnover and increase retention
         Provide timely feedback to department leaders and associates on individual and department
     performance
         Assist with the management of labor and supply costs daily to meet customer service and
     financial targets
         Technical/Professional Knowledge, Compliance and Skills Achieve a satisfactory level of
     technical and professional skills or knowledge in position and/or related areas; keep up with
     current developments and trends
         Ensure associates and location comply with laws and regulation applicable to the company
         Supervise and coach direct reports on the performance of their duties; complete
     performance reviews and provide feedback to direct reports
         Must be able to perform the essential job functions of this position with or without reasonable
     accommodation
          High School Diploma or GED
         Have successfully completed the applicable Division Management Training Program
     Desired Previous Experience/Education
         Any supervisory responsibilities, retail experience, financial responsibility including budget
     preparation and management experience
          Bachelor's Degree
      Education Level: Associates Required
      Required Travel: Up to 25%
      Required Certifications/Licenses: None
      Position Type: Full-Time
      Regions:Mid-Atlantic
     States: West Virginia
     Keywords:
      Jobs at Kroger: At Kroger, we hire people who have a passion for helping others and who
     want to build a relationship with our Customers. No matter what stage of your career, you can
     build your future at Kroger. We look for people who want more, aspire to be more and work hard
     to achieve their goals. Our focus on keeping the Customer first is what makes us successful. We
     offer many opportunities not only in our stores, but in Manufacturing, Logistics, Marketing,
     Finance, Human Resources, and many other fields.
      Company Overview: Kroger Family of Companies employs nearly half a million associates who
     serve over 11 million customers daily through a seamless shopping experience under a variety of
     banner names . At The Kroger Co., we are Fresh for Everyone™ and dedicated to our Purpose:
     To Feed the Human Spirit®. We are committed to creating #ZeroHungerZeroWaste communities
     by 2025. Careers with The Kroger Co. and our family of companies offer competitive wages,
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     flexible schedules, benefits and room for advancement.
     Posting Notes: WV||Morgantown|| 500 Suncrest Town Centre Dr ||26505 || Kroger
     Stores||None||Human Resources; Management; Merchandising; Retail Operations ||Employee||
     Exempt || Full-Time|| None
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     .buttontext244f8b4485e70c27 a:focus{ border: 1px dashed #0068b3 !important; outline: none
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       District 7 Assistant Store Leader
       Company Name: Kroger Stores
       Position Type: Employee
       FLSA Status:




       Position Summary
       Responsible for assisting with the overall day-to-day operations of the store including continuous
       development of effective store associates to achieve desired sales and profit results. Assess daily the stores'
       ability to meet/exceed customer expectations for ease of shopping, variety, freshness, cleanliness, food
       safety and regulatory compliance. Assist with coaching and development of store associates through both
       formal and informal interactions. Demonstrate the company's core values of respect, honesty, integrity,
       diversity, inclusion and safety.
       Essential Job Functions
          Assist store manager and associates in the achievement of a favorable customer shopping experience
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          Lead teams in the planning, implementation and execution of merchandising and operating initiatives
          Work with department leaders and associates to identify opportunities in the store, develop timely
       solutions and create action plans to ensure implementation of plans
          Achieve/exceed weekly, period, and annual sales, wage budgets and profit budgets, and other targeted
       goals
          Drive sales working with department leaders to maximize sales and profits, reduce shrink and improve
       each store department's contribution
          Assist the store manager in the regular store-level financial performance discussions to include
       developing budgets and other targeted goals with store associates
          Utilize coordinators and other field staff to ensure store departments are achieving sales and profit
       goals and ensure implementation, and execution of division merchandising plans
          Promote and support strong relationships with local community organizations in the surrounding area in
       which the store operates
          Build a proactive and productive relationship with union representatives and business agents, if the
       store is covered by a collectively bargaining agreement
          Serve as liaison providing feedback to Store Manager, District Manager and Coordinators on the
       effectiveness of Division merchandising and operational plans/programs
          Assist the store manager in the hiring, onboarding, development and associate relations responsibilities
          Reduce turnover and increase retention
          Provide timely feedback to department leaders and associates on individual and department
       performance
          Assist with the management of labor and supply costs daily to meet customer service and financial
       targets
          Technical/Professional Knowledge, Compliance and Skills Achieve a satisfactory level of technical and
       professional skills or knowledge in position and/or related areas; keep up with current developments and
       trends
          Ensure associates and location comply with laws and regulation applicable to the company
          Supervise and coach direct reports on the performance of their duties; complete performance reviews
       and provide feedback to direct reports
          Must be able to perform the essential job functions of this position with or without reasonable
       accommodation
       Minimum Position Qualifications
          High School Diploma or GED
          Have successfully completed the applicable Division Management Training Program
       Desired Previous Experience/Education
          Bachelor's Degree
          Any supervisory responsibilities, retail experience, financial responsibility including budget preparation
       and management experience

       Education Level: Associates Required
       Required Travel: Up to 25%
       Required Certifications/Licenses: None
       Position Type: Full-Time
       Regions: Mid-Atlantic



       Jobs at Kroger: At Kroger, we hire people who have a passion for helping others and who want to build a relationship with
       our Customers. No matter what stage of your career, you can build your future at Kroger. We look for people who want more,
       aspire to be more and work hard to achieve their goals. Our focus on keeping the Customer first is what makes us successful.
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       We offer many opportunities not only in our stores, but in Manufacturing, Logistics, Marketing, Finance, Human Resources,
       and many other fields.


       Company Overview: Kroger Family of Companies employs nearly half a million associates who serve over 11 million
       customers daily through a seamless shopping experience under a variety of banner names . At The Kroger Co., we
       are Fresh for Everyone™ and dedicated to our Purpose: To Feed the Human Spirit®. We are committed to creating
       #ZeroHungerZeroWaste communities by 2025. Careers with The Kroger Co. and our family of companies offer
       competitive wages, ﬂexible schedules, beneﬁts and room for advancement.


        Posting Notes: VA || Virginia Beach || 3901 Holland Rd || 23452 || Kroger Stores || None || Human Resources; Merchandising; Store Management; Store Operations || Employee ||

       Exempt || Full-Time || None




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         discriminate on the basis of race, color, sex, disability, age, national origin, religion, sexual orientation,
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       District 8 Assistant Store Leader
       Company Name: Kroger Stores
       Position Type: Employee
       FLSA Status:




       Position Summary
       Responsible for assisting with the overall day-to-day operations of the store including continuous
       development of effective store associates to achieve desired sales and profit results. Assess daily the stores'
       ability to meet/exceed customer expectations for ease of shopping, variety, freshness, cleanliness, food
       safety and regulatory compliance. Assist with coaching and development of store associates through both
       formal and informal interactions. Demonstrate the company's core values of respect, honesty, integrity,
       diversity, inclusion and safety.
       Essential Job Functions
          Assist store manager and associates in the achievement of a favorable customer shopping experience
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          Lead teams in the planning, implementation and execution of merchandising and operating initiatives
          Work with department leaders and associates to identify opportunities in the store, develop timely
       solutions and create action plans to ensure implementation of plans
          Achieve/exceed weekly, period, and annual sales, wage budgets and profit budgets, and other targeted
       goals
          Drive sales working with department leaders to maximize sales and profits, reduce shrink and improve
       each store department's contribution
          Assist the store manager in the regular store-level financial performance discussions to include
       developing budgets and other targeted goals with store associates
          Utilize coordinators and other field staff to ensure store departments are achieving sales and profit
       goals and ensure implementation, and execution of division merchandising plans
          Promote and support strong relationships with local community organizations in the surrounding area in
       which the store operates
          Build a proactive and productive relationship with union representatives and business agents, if the
       store is covered by a collectively bargaining agreement
          Serve as liaison providing feedback to Store Manager, District Manager and Coordinators on the
       effectiveness of Division merchandising and operational plans/programs
          Assist the store manager in the hiring, onboarding, development and associate relations responsibilities
          Reduce turnover and increase retention
          Provide timely feedback to department leaders and associates on individual and department
       performance
          Assist with the management of labor and supply costs daily to meet customer service and financial
       targets
          Technical/Professional Knowledge, Compliance and Skills Achieve a satisfactory level of technical and
       professional skills or knowledge in position and/or related areas; keep up with current developments and
       trends
          Ensure associates and location comply with laws and regulation applicable to the company
          Supervise and coach direct reports on the performance of their duties; complete performance reviews
       and provide feedback to direct reports
          Must be able to perform the essential job functions of this position with or without reasonable
       accommodation
       Minimum Position Qualifications
          High School Diploma or GED
          Have successfully completed the applicable Division Management Training Program
       Desired Previous Experience/Education
          Bachelor's Degree
          Any supervisory responsibilities, retail experience, financial responsibility including budget preparation
       and management experience

       Education Level: Associates Required
       Required Travel: Up to 25%
       Required Certifications/Licenses: None
       Position Type: Full-Time
       Regions: Mid-Atlantic



       Jobs at Kroger: At Kroger, we hire people who have a passion for helping others and who want to build a relationship with
       our Customers. No matter what stage of your career, you can build your future at Kroger. We look for people who want more,
       aspire to be more and work hard to achieve their goals. Our focus on keeping the Customer first is what makes us successful.
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       We offer many opportunities not only in our stores, but in Manufacturing, Logistics, Marketing, Finance, Human Resources,
       and many other fields.


       Company Overview: Kroger Family of Companies employs nearly half a million associates who serve over 11 million
       customers daily through a seamless shopping experience under a variety of banner names . At The Kroger Co., we
       are Fresh for Everyone™ and dedicated to our Purpose: To Feed the Human Spirit®. We are committed to creating
       #ZeroHungerZeroWaste communities by 2025. Careers with The Kroger Co. and our family of companies offer
       competitive wages, ﬂexible schedules, beneﬁts and room for advancement.


        Posting Notes: WV || Beckley || 1734 Harper Rd || 25801 || Kroger Stores || None || Human Resources; Merchandising; Store Management; Store Operations || Employee || Exempt ||

       Full-Time || None




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     Nearest Major Market: Charleston


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          promoting, and all other terms, conditions, and privileges of employment in a manner which does not
         discriminate on the basis of race, color, sex, disability, age, national origin, religion, sexual orientation,
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       District 8 Assistant Store Leader
       Company Name: Kroger Stores
       Position Type: Employee
       FLSA Status:




       Position Summary
       Responsible for assisting with the overall day-to-day operations of the store including continuous
       development of effective store associates to achieve desired sales and profit results. Assess daily the stores'
       ability to meet/exceed customer expectations for ease of shopping, variety, freshness, cleanliness, food
       safety and regulatory compliance. Assist with coaching and development of store associates through both
       formal and informal interactions. Demonstrate the company's core values of respect, honesty, integrity,
       diversity, inclusion and safety.
       Essential Job Functions
          Assist store manager and associates in the achievement of a favorable customer shopping experience
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          Lead teams in the planning, implementation and execution of merchandising and operating initiatives
          Work with department leaders and associates to identify opportunities in the store, develop timely
       solutions and create action plans to ensure implementation of plans
          Achieve/exceed weekly, period, and annual sales, wage budgets and profit budgets, and other targeted
       goals
          Drive sales working with department leaders to maximize sales and profits, reduce shrink and improve
       each store department's contribution
          Assist the store manager in the regular store-level financial performance discussions to include
       developing budgets and other targeted goals with store associates
          Utilize coordinators and other field staff to ensure store departments are achieving sales and profit
       goals and ensure implementation, and execution of division merchandising plans
          Promote and support strong relationships with local community organizations in the surrounding area in
       which the store operates
          Build a proactive and productive relationship with union representatives and business agents, if the
       store is covered by a collectively bargaining agreement
          Serve as liaison providing feedback to Store Manager, District Manager and Coordinators on the
       effectiveness of Division merchandising and operational plans/programs
          Assist the store manager in the hiring, onboarding, development and associate relations responsibilities
          Reduce turnover and increase retention
          Provide timely feedback to department leaders and associates on individual and department
       performance
          Assist with the management of labor and supply costs daily to meet customer service and financial
       targets
          Technical/Professional Knowledge, Compliance and Skills Achieve a satisfactory level of technical and
       professional skills or knowledge in position and/or related areas; keep up with current developments and
       trends
          Ensure associates and location comply with laws and regulation applicable to the company
          Supervise and coach direct reports on the performance of their duties; complete performance reviews
       and provide feedback to direct reports
          Must be able to perform the essential job functions of this position with or without reasonable
       accommodation
       Minimum Position Qualifications
          High School Diploma or GED
          Have successfully completed the applicable Division Management Training Program
       Desired Previous Experience/Education
          Bachelor's Degree
          Any Supervisory responsibilities, retail experience, financial responsibility including budget preparation
       and management experience

       Education Level: Associates Required
       Required Travel: Up to 25%
       Required Certifications/Licenses: None
       Position Type: Full-Time
       Regions: Mid-Atlantic



       Jobs at Kroger: At Kroger, we hire people who have a passion for helping others and who want to build a relationship with
       our Customers. No matter what stage of your career, you can build your future at Kroger. We look for people who want more,
       aspire to be more and work hard to achieve their goals. Our focus on keeping the Customer first is what makes us successful.
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       We offer many opportunities not only in our stores, but in Manufacturing, Logistics, Marketing, Finance, Human Resources,
       and many other fields.


       Company Overview: Kroger Family of Companies employs nearly half a million associates who serve over 11 million
       customers daily through a seamless shopping experience under a variety of banner names . At The Kroger Co., we
       are Fresh for Everyone™ and dedicated to our Purpose: To Feed the Human Spirit®. We are committed to creating
       #ZeroHungerZeroWaste communities by 2025. Careers with The Kroger Co. and our family of companies offer
       competitive wages, ﬂexible schedules, beneﬁts and room for advancement.


        Posting Notes: VA || Roanoke || 7223 Williamson Rd || 24019 || Kroger Stores || None || Human Resources; Merchandising; Store Management; Store Operations || Employee || Exempt

       || Full-Time || None




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     Nearest Major Market: Roanoke


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         discriminate on the basis of race, color, sex, disability, age, national origin, religion, sexual orientation,
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DocuSign Envelope ID: 839AD329-362D-4E3A-AC07-6C938365BEC4
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DocuSign Envelope ID: 839AD329-362D-4E3A-AC07-6C938365BEC4
           Case: 1:21-cv-00103-MRB Doc #: 44-14 Filed: 10/08/21 Page: 153 of 157 PAGEID #: 2321
DocuSign Envelope ID: 839AD329-362D-4E3A-AC07-6C938365BEC4
          Case: 1:21-cv-00103-MRB Doc #: 44-14 Filed: 10/08/21 Page: 154 of 157 PAGEID #: 2322
DocuSign Envelope ID: 839AD329-362D-4E3A-AC07-6C938365BEC4
          Case: 1:21-cv-00103-MRB Doc #: 44-14 Filed: 10/08/21 Page: 155 of 157 PAGEID #: 2323
DocuSign Envelope ID: 839AD329-362D-4E3A-AC07-6C938365BEC4
          Case: 1:21-cv-00103-MRB Doc #: 44-14 Filed: 10/08/21 Page: 156 of 157 PAGEID #: 2324
DocuSign Envelope ID: 839AD329-362D-4E3A-AC07-6C938365BEC4
          Case: 1:21-cv-00103-MRB Doc #: 44-14 Filed: 10/08/21 Page: 157 of 157 PAGEID #: 2325
